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                                                           10                            UNITED STATES DISTRICT COURT
                                                           11
                                                                                       CENTRAL DISTRICT OF CALIFORNIA
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                                                           12
                LOS ANGELES, CALIFORNIA 90071




                                                                MSP RECOVERY CLAIMS, SERIES                   Case No. 2:17-cv-02559-CAS-PLA
                                                           13   LLC, a Delaware entity; MSPA CLAIMS
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                                                                1, LLC, a Florida entity,
                                                           14                                                 Judge: Hon. Christina A. Snyder
                                                                               Plaintiffs,                    Courtroom: 8D
                                                           15            vs.
                                                           16                                                 DEFENDANTS’ CONSOLIDATED
                                                                FARMERS INSURANCE EXCHANGE;                   ANSWER TO FOURTH
                                                                FARMERS INSURANCE OF                          AMENDED CLASS ACTION
                                                           17   COLUMBUS, INC.; 21ST CENTURY
                                                                CENTENNIAL INSURANCE                          COMPLAINT
                                                           18   COMPANY; 21ST CENTURY NORTH
                                                                AMERICA INSURANCE COMPANY;                    DEMAND FOR JURY TRIAL
                                                           19   21ST CENTURY PREFERRED
                                                                INSURANCE COMPANY; FIRE
                                                           20   INSURANCE EXCHANGE; FOREMOST
                                                                INSURANCE COMPANY GRAND
                                                           21   RAPIDS, MICHIGAN; FOREMOST
                                                                PROPERTY AND CASUALTY
                                                           22   INSURANCE COMPANY; MID-
                                                                CENTURY INSURANCE COMPANY,
                                                           23
                                                                               Defendants.
                                                           24
                                                           25
                                                           26
                                                           27
                                                           28
                                                                57027219;1                                                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1           ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            2            Defendants Farmers Insurance Exchange, Farmers Insurance of Columbus, Inc.
                                                            3   (erroneously named by plaintiffs as Farmers Insurance Company of Columbus, Inc.),
                                                            4   21st Century Centennial Insurance Company (erroneously named herein by plaintiffs
                                                            5   as 21st Century Centennial Insurance Co.), 21st Century North America Insurance
                                                            6   Company (erroneously named herein by plaintiffs as 21st Century North America
                                                            7   Insurance Co.), 21st Century Preferred Insurance Company, Fire Insurance Exchange,
                                                            8   Foremost Insurance Company Grand Rapids, Michigan (erroneously named by
                                                            9   plaintiffs as Farmers Insurance Company Grand Rapids, Michigan), Foremost
                                                           10   Property and Casualty Insurance Company, and Mid-Century Insurance Company
                                                           11   (collectively, “Defendants”), jointly and severally, hereby answer the Fourth
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                                                           12   Amended Class Action Complaint (“Complaint”) filed by Plaintiffs MSP Recovery
                LOS ANGELES, CALIFORNIA 90071




                                                           13   Claims, Series LLC and MSPA Claims 1, LLC (collectively, “Plaintiffs”) in the
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                                                           14   above-captioned matter as follows:
                                                           15                                    INTRODUCTION
                                                           16            1.   In answer to paragraph 1 of the Complaint, Defendants deny each and
                                                           17   every allegation contained in said paragraph.
                                                           18            2.   In answer to paragraph 2 of the Complaint, Defendants are without
                                                           19   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           20   contained in said paragraph, and on that basis deny each and every allegation
                                                           21   contained in said paragraph.
                                                           22            3.   In answer to paragraph 3 of the Complaint, including without limitation
                                                           23   footnote no. 1, Defendants are without knowledge or information sufficient to form a
                                                           24   belief as to the truth of the allegations contained in said paragraph, and on that basis
                                                           25   deny each and every allegation contained in said paragraph.
                                                           26            4.   In answer to paragraph 4 of the Complaint, Defendants are without
                                                           27   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           28   contained in said paragraph, and on that basis deny each and every allegation
                                                                57027219;1                              1                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                              Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 3 of 63 Page ID #:9313




                                                            1   contained in said paragraph.
                                                            2            5.    In answer to paragraph 5 of the Complaint, Defendants are without
                                                            3   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            4   contained in said paragraph, and on that basis deny each and every allegation
                                                            5   contained in said paragraph.
                                                            6                              JURISDICTION AND VENUE
                                                            7            6.    In answer to paragraph 6 of the Complaint, Defendants are without
                                                            8   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            9   contained in said paragraph, and on that basis deny each and every allegation
                                                           10   contained in said paragraph.
                                                           11            7.    In answer to paragraph 7 of the Complaint, Defendants state that the
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                                                           12   plaintiffs purport to sue under a federal statute 42 U.S.C. § 1395y(b)(3)(A) and
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                                                           13   otherwise are without knowledge or information sufficient to form a belief as to the
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                                                           14   truth of the allegations contained in said paragraph, and on that basis deny each and
                                                           15   every allegation contained in said paragraph.
                                                           16            8.    In answer to paragraph 8 of the Complaint, Defendants admit that
                                                           17   Defendants are authorized, or during the relevant time period were authorized, to do
                                                           18   business in California but deny the remaining allegations contained in said paragraph.
                                                           19            9.    In answer to paragraph 9 of the Complaint, Defendants deny each and
                                                           20   every allegation contained in said paragraph.
                                                           21                                     BACKGROUND
                                                           22            10.   In answer to paragraph 10 of the Complaint, Defendants admit that
                                                           23   Congress enacted the Medicare Act. Except as expressly admitted, Defendants are
                                                           24   without knowledge or information sufficient to form a belief as to the truth of the
                                                           25   remaining allegations contained in said paragraph, and on that basis deny each and
                                                           26   every remaining allegation contained in said paragraph.
                                                           27            11.   In answer to paragraph 11 of the Complaint, Defendants admit that the
                                                           28   Medicare Act includes Parts A, B, C, D and E, that the statutes cited in the paragraph
                                                                57027219;1                              2                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                              Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 4 of 63 Page ID #:9314




                                                            1   concern the Medicare Act and that the statutes speak for themselves. Except as
                                                            2   expressly admitted, Defendants are without knowledge or information sufficient to
                                                            3   form a belief as to the truth of the remaining allegations contained in said paragraph,
                                                            4   and on that basis deny each and every remaining allegation contained in said
                                                            5   paragraph.
                                                            6            12.   In answer to paragraph 12 of the Complaint, Defendants admit that
                                                            7   Congress enacted the Medicare Secondary Payer Act, which Act speaks for itself and
                                                            8   the paragraph contains assertions about the law to which an admission or denial by
                                                            9   Defendants regarding fact allegations are not elicited. Except as expressly admitted,
                                                           10   Defendants are without knowledge or information sufficient to form a belief as to the
                                                           11   truth of the remaining allegations contained in said paragraph, and on that basis deny
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                                                           12   each and every remaining allegation contained in said paragraph.
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                                                           13            13.   In answer to paragraph 13 of the Complaint, Defendants admit that 42
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                                                           14   U.S.C. § 1395y concerns the Medicare Secondary Payer Act, which Act speaks for
                                                           15   itself and the paragraph contains assertions about the law to which an admission or
                                                           16   denial by Defendants regarding fact allegations are not elicited. To the extent
                                                           17   otherwise required, and except as expressly admitted, Defendants are without
                                                           18   knowledge or information sufficient to form a belief as to the truth of the remaining
                                                           19   allegations contained in said paragraph, and on that basis deny each and every
                                                           20   remaining allegation contained in said paragraph.
                                                           21            14.   In answer to paragraph 14 of the Complaint, Defendants state that the
                                                           22   cited statutes and regulations speak for themselves, and the paragraph contains
                                                           23   assertions about the law to which an admission or denial by Defendants regarding fact
                                                           24   allegations are not elicited. To the extent otherwise required, Defendants deny each
                                                           25   and every remaining allegation contained in said paragraph.
                                                           26            15.   In answer to paragraph 15 of the Complaint, Defendants state that the
                                                           27   cited statute speaks for itself and the paragraph contains assertions about the law to
                                                           28   which an admission or denial by Defendants regarding fact allegations are not
                                                                57027219;1                              3                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   elicited. To the extent otherwise required, and except as expressly admitted,
                                                            2   Defendants are without knowledge or information sufficient to form a belief as to the
                                                            3   truth of the remaining allegations contained in said paragraph, and on that basis deny
                                                            4   each and every remaining allegation contained in said paragraph.
                                                            5            16.   In answer to paragraph 16 of the Complaint, Defendants state that the
                                                            6   cited statutes and regulations speak for themselves, that Defendants may or may not
                                                            7   be primary payers and plans depending on the individual policies, individual
                                                            8   accidents, individual medical bills, individual settlements and individual claims, and
                                                            9   that except as expressly admitted, Defendants are without knowledge or information
                                                           10   sufficient to form a belief as to the truth of the remaining allegations contained in said
                                                           11   paragraph, and on that basis deny each and every remaining allegation contained in
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                                                           12   said paragraph.
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                                                           13            17.   In answer to paragraph 17 of the Complaint, Defendants are without
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                                                           14   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           15   contained in said paragraph, and on that basis deny each and every allegation
                                                           16   contained in said paragraph.
                                                           17            18.   In answer to paragraph 18 of the Complaint, including without limitation
                                                           18   footnote no. 2, Defendants admit that the Medicare Act includes Part C, which speaks
                                                           19   for itself and the paragraph contains assertions about the law to which an admission or
                                                           20   denial by Defendants regarding fact allegations are not elicited. To the extent
                                                           21   otherwise required, and except as expressly admitted, Defendants are without
                                                           22   knowledge or information sufficient to form a belief as to the truth of the remaining
                                                           23   allegations contained in said paragraph, and on that basis deny each and every
                                                           24   remaining allegation contained in said paragraph.
                                                           25            19.   In answer to paragraph 19 of the Complaint, Defendants admit that the
                                                           26   statutes cited in the paragraph concern the Medicare Secondary Payer Act. Except as
                                                           27   expressly admitted, Defendants are without knowledge or information sufficient to
                                                           28   form a belief as to the truth of the remaining allegations contained in said paragraph,
                                                                57027219;1                              4                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   and on that basis deny each and every remaining allegation contained in said
                                                            2   paragraph.
                                                            3            20.   In answer to paragraph 20 of the Complaint, Defendants are without
                                                            4   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            5   contained in said paragraph, and on that basis deny each and every allegation
                                                            6   contained in said paragraph.
                                                            7            21.   In answer to paragraph 21 of the Complaint, Defendants are without
                                                            8   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            9   contained in said paragraph, and on that basis deny each and every allegation
                                                           10   contained in said paragraph.
                                                           11            22.   In answer to paragraph 22 of the Complaint, Defendants admit that the
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                                                           12   statute cited in the paragraph concerns the Medicare Secondary Payer Act. Except as
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                                                           13   expressly admitted, Defendants are without knowledge or information sufficient to
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                                                           14   form a belief as to the truth of the remaining allegations contained in said paragraph,
                                                           15   and on that basis deny each and every remaining allegation contained in said
                                                           16   paragraph.
                                                           17            23.   In answer to paragraph 23 of the Complaint, Defendants are without
                                                           18   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           19   contained in said paragraph, and on that basis deny each and every allegation
                                                           20   contained in said paragraph.
                                                           21            24.   In answer to paragraph 24 of the Complaint, including without limitation
                                                           22   footnote no. 3, Defendants are without knowledge or information sufficient to form a
                                                           23   belief as to the truth of the allegations contained in said paragraph, and on that basis
                                                           24   deny each and every allegation contained in said paragraph.
                                                           25            25.   In answer to paragraph 25 of the Complaint, Defendants admit that
                                                           26   persons who receive benefits through Medicare and who elect to receive benefits
                                                           27   through an MAO/MA Plan are considered Medicare beneficiaries, and the regulation
                                                           28   cited in the paragraph concerns the Medicare Secondary Payer Act.            Except as
                                                                57027219;1                              5                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   expressly admitted, Defendants are without knowledge or information sufficient to
                                                            2   form a belief as to the truth of the remaining allegations contained in said paragraph,
                                                            3   and on that basis deny each and every remaining allegation contained in said
                                                            4   paragraph.
                                                            5            26.   In answer to paragraph 26 of the Complaint, Defendants are without
                                                            6   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            7   contained in said paragraph, and on that basis deny each and every allegation
                                                            8   contained in said paragraph.
                                                            9            27.   In answer to paragraph 27 of the Complaint, Defendants admit that the
                                                           10   statute cited in the paragraph states in part the language quoted in the paragraph.
                                                           11   Except as expressly admitted, Defendants are without knowledge or information
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                                                           12   sufficient to form a belief as to the truth of the remaining allegations contained in said
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                                                           13   paragraph, and on that basis deny each and every remaining allegation contained in
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                                                           14   said paragraph.
                                                           15            28.   In answer to paragraph 28 of the Complaint, Defendants admit that the
                                                           16   statute cited in the paragraph states in part the language quoted in the paragraph.
                                                           17   Except as expressly admitted, Defendants are without knowledge or information
                                                           18   sufficient to form a belief as to the truth of the remaining allegations contained in said
                                                           19   paragraph, and on that basis deny each and every remaining allegation contained in
                                                           20   said paragraph.
                                                           21            29.   In answer to paragraph 29 of the Complaint, Defendants are without
                                                           22   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           23   contained in said paragraph, and on that basis deny each and every allegation
                                                           24   contained in said paragraph.
                                                           25            30.   In answer to paragraph 30 of the Complaint, Defendants deny each and
                                                           26   every allegation contained in said paragraph.
                                                           27            31.   In answer to paragraph 31 of the Complaint, Defendants deny each and
                                                           28   every allegation contained in said paragraph.
                                                                57027219;1                              6                     2:17-cv-02559-CAS-PLA
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                                                            1            32.      In answer to paragraph 32 of the Complaint, Defendants deny each and
                                                            2   every allegation contained in said paragraph.
                                                            3            33.      In answer to paragraph 33 of the Complaint, Defendants admit that 42
                                                            4   U.S.C. § 1395y(b)(3)(A) states “There is established a private cause of action for
                                                            5   damages (which shall be in an amount double the amount otherwise provided) in the
                                                            6   case         of   a   primary plan which   fails   to   provide   for   primary   payment
                                                            7   (or appropriate reimbursement) in accordance with paragraphs (1) and (2)(A).”
                                                            8   Except as expressly admitted, Defendants deny each and every remaining allegation
                                                            9   contained in said paragraph.
                                                           10            34.      In answer to paragraph 34 of the Complaint, including without limitation
                                                           11   footnote no. 4, Defendants are without knowledge or information sufficient to form a
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                                                           12   belief as to the truth of the allegations contained in said paragraph, and on that basis
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                                                           13   deny each and every allegation contained in said paragraph.
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                                                           14            35.      In answer to paragraph 35 of the Complaint, Defendants admit that
                                                           15   Congress enacted the Medicare, Medicaid and SCHIP Extension Act of 2007
                                                           16   (“MMSEA”), which speaks for itself and the paragraph contains assertions about the
                                                           17   law to which an admission or denial by Defendants regarding fact allegations are not
                                                           18   elicited. To the extent otherwise required, and except as expressly admitted,
                                                           19   Defendants are without knowledge or information sufficient to form a belief as to the
                                                           20   truth of the remaining allegations contained in said paragraph, and on that basis deny
                                                           21   each and every remaining allegation contained in said paragraph.
                                                           22            36.      In answer to paragraph 36 of the Complaint, including without limitation
                                                           23   footnote no. 5, Defendants state that the statutes and regulations cited in said
                                                           24   paragraph speak for themselves and do not elicit an admission or denial from
                                                           25   Defendants. To the extent a response is required, Defendants deny each and every
                                                           26   remaining allegation contained in said paragraph.
                                                           27            37.      In answer to paragraph 37 of the Complaint, including without limitation
                                                           28   footnote no. 6, Defendants state that the statutes and regulations cited in said
                                                                57027219;1                              7                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   paragraph speak for themselves and do not elicit an admission or denial from
                                                            2   Defendants. To the extent a response is required, Defendants deny each and every
                                                            3   remaining allegation contained in said paragraph.
                                                            4            38.   In answer to paragraph 38 of the Complaint, Defendants are without
                                                            5   knowledge or information sufficient to form a belief as to the truth of the remaining
                                                            6   allegations contained in said paragraph, and on that basis deny each and every
                                                            7   remaining allegation contained in said paragraph.
                                                            8            39.   In answer to paragraph 39 of the Complaint, Defendants state the statute
                                                            9   cited in said paragraph speaks for itself and the paragraph contains assertions about
                                                           10   the law to which an admission or denial by Defendants regarding fact allegations are
                                                           11   not elicited. To the extent otherwise required, Defendants deny each and every
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                                                           12   allegation contained in said paragraph.
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                                                           13            40.   In answer to paragraph 40 of the Complaint, Defendants state the statute
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                                                           14   cited in said paragraph speaks for itself and the paragraph contains assertions about
                                                           15   the law to which an admission or denial by Defendants regarding fact allegations are
                                                           16   not elicited. To the extent otherwise required, Defendants deny each and every
                                                           17   allegation contained in said paragraph.
                                                           18                                          PARTIES
                                                           19            41.   In answer to paragraph 41 of the Complaint, Defendants are without
                                                           20   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           21   contained in said paragraph, and on that basis deny each and every allegation
                                                           22   contained in said paragraph.
                                                           23            42.   In answer to paragraph 42 of the Complaint, Defendants are without
                                                           24   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           25   contained in said paragraph, and on that basis deny each and every allegation
                                                           26   contained in said paragraph.
                                                           27            43.   In answer to paragraph 43 of the Complaint, Defendants are without
                                                           28   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                                57027219;1                              8                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   contained in said paragraph, and on that basis deny each and every allegation
                                                            2   contained in said paragraph.
                                                            3            44.   In answer to paragraph 44 of the Complaint, Defendants admit that
                                                            4   Farmers Insurance Exchange is an inter-insurance exchange organized under the laws
                                                            5   of the State of California and has its principal place of business located at 6301
                                                            6   Owensmouth Avenue, Woodland Hills, California 91367. Except as expressly
                                                            7   admitted, Defendants deny each and every remaining allegation contained in said
                                                            8   paragraph.
                                                            9            45.   In answer to paragraph 45 of the Complaint, Defendants admit that
                                                           10   Farmers Insurance of Columbus, Inc. (erroneously sued herein as Farmers Insurance
                                                           11   Company of Columbus, Inc.) is an Ohio company with its principal place of business
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                                                           12   located at 2500 Farmers Drive, Columbus, Ohio 43235. Except as expressly admitted,
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                                                           13   Defendants deny each and every remaining allegation contained in said paragraph.
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                                                           14            46.   In answer to paragraph 46 of the Complaint, Defendants admit that 21st
                                                           15   Century Centennial Insurance Company (erroneously sued herein as 21st Century
                                                           16   Centennial Insurance Co.), is a Pennsylvania company with its principal place of
                                                           17   business located at 3 Beaver Valley Rd., Wilmington, Delaware 19803.
                                                           18            47.   In answer to paragraph 47 of the Complaint, Defendants admit the
                                                           19   allegations contained in said paragraph.
                                                           20            48.   In answer to paragraph 48 of the Complaint, Defendants admit that 21st
                                                           21   Century North America Insurance Company (erroneously sued herein as 21st Century
                                                           22   North America Insurance Co.), is a New York company with its principal place of
                                                           23   business located at 3 Beaver Valley Road, Wilmington Delaware 19803.
                                                           24            49.   In answer to paragraph 49 of the Complaint, Defendants admit the
                                                           25   allegations contained in said paragraph.
                                                           26            50.   In answer to paragraph 50 of the Complaint, Defendants deny the
                                                           27   allegations contained in said paragraph.
                                                           28            51.   In answer to paragraph 51 of the Complaint, Defendants admit the
                                                                57027219;1                              9                     2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   allegations contained in said paragraph.
                                                            2            52.   In answer to paragraph 52 of the Complaint, Defendants admit that Fire
                                                            3   Insurance Exchange is an inter-insurance exchange organized under the laws of the
                                                            4   State of California and has its principal place of business located at 6301 Owensmouth
                                                            5   Avenue, Woodland Hills, California 91367. Except as expressly admitted, Defendants
                                                            6   deny each and every remaining allegation contained in said paragraph.
                                                            7            53.   In answer to paragraph 53 of the Complaint, Defendants are without
                                                            8   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            9   contained in said paragraph, and on that basis deny each and every allegation
                                                           10   contained in said paragraph.
                                                           11                                       MAO/MA Plans
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                                                           12            54.   In answer to paragraph 54 of the Complaint, including without limitation
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                                                           13   footnote no. 7, Defendants are without knowledge or information sufficient to form a
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                                                           14   belief as to the truth of the allegations contained in said paragraph, and on that basis
                                                           15   deny each and every allegation contained in said paragraph.
                                                           16            55.   In answer to paragraph 55 of the Complaint, Defendants are without
                                                           17   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           18   contained in said paragraph, and on that basis deny each and every allegation
                                                           19   contained in said paragraph.
                                                           20                                         STANDING
                                                           21            56.   In answer to paragraph 56 of the Complaint, including without limitation
                                                           22   footnote no. 8, Defendants deny each and every allegation contained in said
                                                           23   paragraph.
                                                           24            57.   In answer to paragraph 57 of the Complaint, Defendants are without
                                                           25   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           26   contained in said paragraph, and on that basis deny each and every allegation
                                                           27   contained in said paragraph.
                                                           28            58.   In answer to paragraph 58 of the Complaint, Defendants deny each and
                                                                57027219;1                              10                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   every allegation contained in said paragraph.
                                                            2            59.      In answer to paragraph 59 of the Complaint, Defendants admit that 42
                                                            3   U.S.C. § 1395y(b)(3)(A) states “There is established a private cause of action for
                                                            4   damages (which shall be in an amount double the amount otherwise provided) in the
                                                            5   case         of   a   primary plan which   fails   to   provide   for   primary   payment
                                                            6   (or appropriate reimbursement) in accordance with paragraphs (1) and (2)(A).”
                                                            7   Except as expressly admitted, Defendants deny each and every remaining allegation
                                                            8   contained in said paragraph.
                                                            9            60.      In answer to paragraph 60 of the Complaint, including without limitation
                                                           10   footnote no. 9, Defendants admit that 42 U.S.C. § 1395w-25(d)(1) states in part “In
                                                           11   this part, the term ‘provider-sponsored organization’ means a public or private
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                                                           12   entity—(A) that is established or organized, and operated, by a health care provider, or
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                                                           13   group of affiliated health care providers, (B) that provides a substantial proportion (as
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                                                           14   defined by the Secretary in accordance with paragraph (2)) of the health care items
                                                           15   and services under the contract under this part directly through the provider or
                                                           16   affiliated group of providers, and (C) with respect to which the affiliated providers
                                                           17   share, directly or indirectly, substantial financial risk with respect to the provision of
                                                           18   such items and services and have at least a majority financial interest in the entity.”
                                                           19   Except as expressly admitted, Defendants deny each and every remaining allegation
                                                           20   contained in said paragraph.
                                                           21            61.      In answer to paragraph 61 of the Complaint, including without limitation
                                                           22   footnote no. 10, Defendants state the regulations speak for themselves and otherwise
                                                           23   deny each and every allegation contained in said paragraph.
                                                           24            62.      In answer to paragraph 62 of the Complaint, including without limitation
                                                           25   footnote no. 11, Defendants are without knowledge or information sufficient to form a
                                                           26   belief as to the truth of the allegations contained in said paragraph, and on that basis
                                                           27   deny each and every allegation contained in said paragraph.
                                                           28
                                                                57027219;1                              11                    2:17-cv-02559-CAS-PLA
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                                                            1                                      ASSIGNMENTS
                                                            2            63.   In answer to paragraph 63 of the Complaint, Defendants are without
                                                            3   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            4   contained in said paragraph, and on that basis deny each and every allegation
                                                            5   contained in said paragraph.
                                                            6            64.   In answer to paragraph 64 of the Complaint, Defendants are without
                                                            7   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            8   contained in said paragraph, and on that basis deny each and every allegation
                                                            9   contained in said paragraph.
                                                           10            65.   In answer to paragraph 65 of the Complaint, Defendants are without
                                                           11   knowledge or information sufficient to form a belief as to the truth of the allegations
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                                                           12   contained in said paragraph, and on that basis deny each and every allegation
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                                                           13   contained in said paragraph.
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                                                           14            66.   In answer to paragraph 66 of the Complaint, Defendants are without
                                                           15   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           16   contained in said paragraph, and on that basis deny each and every allegation
                                                           17   contained in said paragraph.
                                                           18            67.   In answer to paragraph 67 of the Complaint, including without limitation
                                                           19   footnote no. 13, Defendants are without knowledge or information sufficient to form a
                                                           20   belief as to the truth of the allegations contained in said paragraph, and on that basis
                                                           21   deny each and every allegation contained in said paragraph.
                                                           22            68.   In answer to paragraph 68 of the Complaint, Defendants are without
                                                           23   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           24   contained in said paragraph, and on that basis deny each and every allegation
                                                           25   contained in said paragraph.
                                                           26            69.   In answer to paragraph 69 of the Complaint, Defendants are without
                                                           27   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           28   contained in said paragraph, and on that basis deny each and every allegation
                                                                57027219;1                              12                    2:17-cv-02559-CAS-PLA
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                                                            1   contained in said paragraph.
                                                            2            70.   In answer to paragraph 70 of the Complaint, Defendants are without
                                                            3   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            4   contained in said paragraph, and on that basis deny each and every allegation
                                                            5   contained in said paragraph.
                                                            6            71.   In answer to paragraph 71 of the Complaint, Defendants are without
                                                            7   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            8   contained in said paragraph, and on that basis deny each and every allegation
                                                            9   contained in said paragraph.
                                                           10            72.   In answer to paragraph 72 of the Complaint, Defendants are without
                                                           11   knowledge or information sufficient to form a belief as to the truth of the allegations
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                                                           12   contained in said paragraph, and on that basis deny each and every allegation
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                                                           13   contained in said paragraph.
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                                                           14            73.   In answer to paragraph 73 of the Complaint, Defendants are without
                                                           15   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           16   contained in said paragraph, and on that basis deny each and every allegation
                                                           17   contained in said paragraph.
                                                           18            74.   In answer to paragraph 74 of the Complaint, Defendants are without
                                                           19   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           20   contained in said paragraph, and on that basis deny each and every allegation
                                                           21   contained in said paragraph.
                                                           22            75.   In answer to paragraph 75 of the Complaint, Defendants are without
                                                           23   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           24   contained in said paragraph, and on that basis deny each and every allegation
                                                           25   contained in said paragraph.
                                                           26            76.   In answer to paragraph 76 of the Complaint, Defendants are without
                                                           27   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           28   contained in said paragraph, and on that basis deny each and every allegation
                                                                57027219;1                              13                    2:17-cv-02559-CAS-PLA
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                                                            1   contained in said paragraph.
                                                            2            77.   In answer to paragraph 77 of the Complaint, Defendants are without
                                                            3   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            4   contained in said paragraph, and on that basis deny each and every allegation
                                                            5   contained in said paragraph.
                                                            6            78.   In answer to paragraph 78 of the Complaint, Defendants are without
                                                            7   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            8   contained in said paragraph, and on that basis deny each and every allegation
                                                            9   contained in said paragraph.
                                                           10            79.   In answer to paragraph 79 of the Complaint, Defendants are without
                                                           11   knowledge or information sufficient to form a belief as to the truth of the allegations
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                                                           12   contained in said paragraph, and on that basis deny each and every allegation
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                                                           13   contained in said paragraph.
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                                                           14            80.   In answer to paragraph 80 of the Complaint, Defendants are without
                                                           15   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           16   contained in said paragraph, and on that basis deny each and every allegation
                                                           17   contained in said paragraph.
                                                           18            81.   In answer to paragraph 81 of the Complaint, Defendants are without
                                                           19   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           20   contained in said paragraph, and on that basis deny each and every allegation
                                                           21   contained in said paragraph.
                                                           22            82.   In answer to paragraph 82 of the Complaint, Defendants are without
                                                           23   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           24   contained in said paragraph, and on that basis deny each and every allegation
                                                           25   contained in said paragraph.
                                                           26            83.   In answer to paragraph 83 of the Complaint, Defendants are without
                                                           27   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           28   contained in said paragraph, and on that basis deny each and every allegation
                                                                57027219;1                              14                    2:17-cv-02559-CAS-PLA
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                                                            1   contained in said paragraph.
                                                            2            84.   In answer to paragraph 84 of the Complaint, Defendants are without
                                                            3   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            4   contained in said paragraph, and on that basis deny each and every allegation
                                                            5   contained in said paragraph.
                                                            6            85.   In answer to paragraph 85 of the Complaint, Defendants are without
                                                            7   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            8   contained in said paragraph, and on that basis deny each and every allegation
                                                            9   contained in said paragraph.
                                                           10            86.   In answer to paragraph 86 of the Complaint, Defendants are without
                                                           11   knowledge or information sufficient to form a belief as to the truth of the allegations
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                                                           12   contained in said paragraph, and on that basis deny each and every allegation
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                                                           13   contained in said paragraph.
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                                                           14                               REPRESENTATIVE FACTS
                                                           15            87.   In answer to paragraph 87 of the Complaint, Defendants are without
                                                           16   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           17   contained in said paragraph, and on that basis deny each and every allegation
                                                           18   contained in said paragraph.
                                                           19            88.   In answer to paragraph 88 of the Complaint, Defendants are without
                                                           20   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           21   contained in said paragraph, and on that basis deny each and every allegation
                                                           22   contained in said paragraph.
                                                           23            89.   In answer to paragraph 89 of the Complaint, Defendants deny each and
                                                           24   every allegation contained in said paragraph.
                                                           25            90.   In answer to paragraph 90 of the Complaint, Defendants are without
                                                           26   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           27   contained in said paragraph, and on that basis deny each and every allegation
                                                           28   contained in said paragraph.
                                                                57027219;1                              15                    2:17-cv-02559-CAS-PLA
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                                                            1            91.   In answer to paragraph 91 of the Complaint, Defendants deny each and
                                                            2   every allegation contained in said paragraph.
                                                            3            92.   In answer to paragraph 92 of the Complaint, Defendants deny each and
                                                            4   every allegation contained in said paragraph.
                                                            5            93.   In answer to paragraph 93 of the Complaint, Defendants deny each and
                                                            6   every allegation contained in said paragraph.
                                                            7            94.   In answer to paragraph 94 of the Complaint, Defendants admit that the
                                                            8   parties engaged in data-matching discovery.         As to the remaining allegations
                                                            9   contained in said paragraph, Defendants deny each and every remaining allegation
                                                           10   contained in said paragraph.
                                                           11            95.   In answer to paragraph 95 of the Complaint, including without limitation
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                                                           12   footnote no. 13, Defendants are without knowledge or information sufficient to form a
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                                                           13   belief as to the truth of the allegations contained in said paragraph, and on that basis
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                                                           14   deny each and every allegation contained in said paragraph.
                                                           15            96.   In answer to paragraph 96 of the Complaint, Defendants are without
                                                           16   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           17   contained in said paragraph, and on that basis deny each and every allegation
                                                           18   contained in said paragraph.
                                                           19            97.   In answer to paragraph 97 of the Complaint, Defendants deny that
                                                           20   Defendants have any further obligation to engage in any further-data matching
                                                           21   discovery, as Defendants have already complied with all data-matching discovery
                                                           22   ordered by the Court.        Except as expressly admitted, Defendants are without
                                                           23   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           24   contained in said paragraph, and on that basis deny each and every allegation
                                                           25   contained in said paragraph.
                                                           26                                    CLASS DEFINITION
                                                           27            98.   In answer to paragraph 98 of the Complaint, the alleged putative class
                                                           28   definition speaks for itself.      Defendants otherwise are without knowledge or
                                                                57027219;1                              16                    2:17-cv-02559-CAS-PLA
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                                                            1   information sufficient to form a belief as to the truth of the allegations contained in
                                                            2   said paragraph, and on that basis deny each and every allegation contained in said
                                                            3   paragraph.
                                                            4                                  CAUSES OF ACTION
                                                            5            99.   In answer to paragraph 99 of the Complaint, Defendants deny each and
                                                            6   every allegation contained in said paragraph.
                                                            7            100. In answer to paragraph 100 of the Complaint, Defendants are without
                                                            8   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            9   contained in said paragraph, and on that basis deny each and every allegation
                                                           10   contained in said paragraph.
                                                           11                                         COUNT I
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                                                           12            101. In answer to paragraph 101 of the Complaint, Defendants restate and
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                                                           13   incorporate by reference Defendants’ responses to paragraphs 1 through 100 herein.
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                                                           14            102. In answer to paragraph 102 of the Complaint, Defendants are without
                                                           15   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           16   contained in said paragraph, and on that basis deny each and every allegation
                                                           17   contained in said paragraph.
                                                           18            103. In answer to paragraph 103 of the Complaint, Defendants admit that 42
                                                           19   U.S.C. § 1395y(b)(3)(A) states “There is established a private cause of action for
                                                           20   damages (which shall be in an amount double the amount otherwise provided) in the
                                                           21   case of a primary plan which fails to provide for primary payment (or appropriate
                                                           22   reimbursement) in accordance with paragraphs (1) and (2)(A).” Except as expressly
                                                           23   admitted, Defendants deny the remaining allegations contained in said paragraph.
                                                           24            104. In answer to paragraph 104 of the Complaint, Defendants are without
                                                           25   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           26   contained in said paragraph, and on that basis deny each and every allegation
                                                           27   contained in said paragraph.
                                                           28            105. In answer to paragraph 105 of the Complaint, Defendants are without
                                                                57027219;1                              17                    2:17-cv-02559-CAS-PLA
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                                                            1   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            2   contained in said paragraph, and on that basis deny each and every allegation
                                                            3   contained in said paragraph.
                                                            4            106. In answer to paragraph 106 of the Complaint, Defendants deny an
                                                            5   obligation to “administratively appeal the MAOs/MA Plans’ right to reimbursement,”
                                                            6   and deny each and every remaining allegation contained in said paragraph.
                                                            7            107. In answer to paragraph 107 of the Complaint, Defendants are without
                                                            8   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                            9   contained in said paragraph, and on that basis deny each and every allegation
                                                           10   contained in said paragraph.
                                                           11            108. In answer to paragraph 108 of the Complaint, Defendants are without
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                                                           12   knowledge or information sufficient to form a belief as to the truth of the allegations
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                                                           13   contained in said paragraph, and on that basis deny each and every allegation
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                                                           14   contained in said paragraph.
                                                           15            109. In answer to paragraph 109 of the Complaint, Defendants deny each and
                                                           16   every allegation contained in said paragraph.
                                                           17            110. In answer to paragraph 110 of the Complaint, Defendants deny each and
                                                           18   every allegation contained in said paragraph.
                                                           19            111. In answer to paragraph 111 of the Complaint, Defendants deny each and
                                                           20   every allegation contained in said paragraph.
                                                           21                                  CLASS ALLEGATIONS
                                                           22            112. In answer to paragraph 112 of the Complaint, Defendants are without
                                                           23   knowledge or information sufficient to form a belief as to the truth of the allegations
                                                           24   contained in said paragraph, and on that basis deny each and every allegation
                                                           25   contained in said paragraph.
                                                           26            113. In answer to paragraph 113 of the Complaint, Defendants deny each and
                                                           27   every allegation contained in said paragraph.
                                                           28            114. In answer to paragraph 114 of the Complaint, Defendants deny each and
                                                                57027219;1                              18                    2:17-cv-02559-CAS-PLA
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                                                            1   every allegation contained in said paragraph.
                                                            2            115. In answer to paragraph 115 of the Complaint, including without
                                                            3   limitation sub-paragraphs a through d therein, Defendants deny each and every
                                                            4   allegation contained in said paragraph.
                                                            5            116. In answer to paragraph 116 of the Complaint, Defendants deny each and
                                                            6   every allegation contained in said paragraph.
                                                            7            117. In answer to paragraph 117 of the Complaint, Defendants deny each and
                                                            8   every allegation contained in said paragraph.
                                                            9            118. In answer to paragraph 118 of the Complaint, Defendants deny each and
                                                           10   every allegation contained in said paragraph.
                                                           11            119. In answer to paragraph 119 of the Complaint, Defendants deny each and
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                                                           12   every allegation contained in said paragraph.
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                                                           13            120. In answer to paragraph 120 of the Complaint, Defendants state Plaintiffs
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                                                           14   purport to seek an alternative National Issues Class but otherwise deny each and every
                                                           15   allegation contained in said paragraph.
                                                           16            121. In answer to paragraph 121 of the Complaint, Defendants admit that
                                                           17   Federal Rules of Civil Procedure Rule 23(c)(4) states “When appropriate, an action
                                                           18   may be brought or maintained as a class action with respect to particular issues.”
                                                           19   Except as expressly admitted, Defendants are without knowledge or information
                                                           20   sufficient to form a belief as to the truth of the remaining allegations contained in said
                                                           21   paragraph, and on that basis deny each and every remaining allegation contained in
                                                           22   said paragraph.
                                                           23            122. In answer to paragraph 122 of the Complaint, including without
                                                           24   limitation sub-paragraphs a through f therein, Defendants deny each and every
                                                           25   allegation contained in said paragraph.
                                                           26            123. In answer to paragraph 123 of the Complaint, Defendants deny each and
                                                           27   every allegation contained in said paragraph.
                                                           28            124. In answer to paragraph 124 of the Complaint, including without
                                                                57027219;1                              19                    2:17-cv-02559-CAS-PLA
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                                                            1   limitation sub-paragraphs “a” through “d” therein, Defendants deny each and every
                                                            2   allegation contained in said paragraph.
                                                            3            125. In answer to paragraph 125 of the Complaint, Defendants deny each and
                                                            4   every allegation contained in said paragraph.
                                                            5                                   JURY TRIAL DEMAND
                                                            6            126. In answer to paragraph 126 of the Complaint, Defendants state Plaintiffs
                                                            7   purport to demand a trial by jury and are otherwise without knowledge or information
                                                            8   sufficient to form a belief as to the truth of the allegations contained in said paragraph,
                                                            9   and on that basis deny each and every allegation contained in said paragraph.
                                                           10                                   PRAYER FOR RELIEF
                                                           11            127. In answer to the Prayer for Relief set forth in paragraph 127, including
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                                                           12   without limitation sub-paragraphs a, b, c and c(i) through c(v), Defendants deny each
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                                                           13   and every allegation and prayer for relief contained in said paragraphs.
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                                                           14                      AFFIRMATIVE DEFENSES TO COMPLAINT
                                                           15            Without waiver of their rights to assert any additional affirmative defenses as
                                                           16   may be revealed through discovery, Defendants jointly and severally assert the
                                                           17   following separate affirmative defenses to the Complaint:
                                                           18            1.    Venue in this Court is not proper. In support of this affirmative defense,
                                                           19   Defendants allege the following: Plaintiffs allege in conclusory fashion that “[v]enue
                                                           20   is proper before this Court pursuant to 28 U.S.C. § 1391.” Complaint ¶ 9. This is
                                                           21   Plaintiffs’ only allegation regarding a basis for venue in this Court. Contrary to
                                                           22   Plaintiffs’ allegation, however, the rest of the Complaint specifically establishes that
                                                           23   venue is in fact not proper here. The Complaint concedes that not all defendants
                                                           24   reside in California, in that the Complaint alleges that at least 6 of the Defendants
                                                           25   reside in states other than California; namely, Ohio, New York, Pennsylvania, and
                                                           26   Michigan. Complaint ¶¶ 45, 46, 48, 49, 50, and 51. Further, the Complaint alleges
                                                           27   that at least 6 of the Defendants are non-California companies with principal places of
                                                           28   business outside of California, and that 9 of the Defendants indemnified insureds and
                                                                57027219;1                              20                    2:17-cv-02559-CAS-PLA
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                                                            1   made settlement payments to non-California residents whose medical expenses were
                                                            2   allegedly paid by a purported non-California Assignors, which Assignors allegedly
                                                            3   assigned their rights to pursue claims under agreements governed by the laws of states
                                                            4   other than California. Complaint ¶¶ 44-57, 63-86.
                                                            5            2.   Defendants are improperly joined with each other. In support of this
                                                            6   affirmative defense, Defendants allege the following: Under Fed. R. Civ. P. Rule
                                                            7   20(a)(2), defendants “may be joined in one action as defendants if (A) any right to
                                                            8   relief is asserted against them jointly, severally, or in the alternative with respect to or
                                                            9   arising out of the same transaction, occurrence, or series of transactions or
                                                           10   occurrences; and (B) any question of law or fact common to all defendants will arise
                                                           11   in the action.” Id. The first prong of Rule 20(a)(2) test for permissive joinder, the
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                                                           12   “same transaction or occurrence” requirement, “refers to the similarity in the factual
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                                                           13   background of a claim.” Coughlin v. Rogers, 130 F.3d 1348, 1350 (9th Cir. 1997).
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                                                           14   Here, the claims against each of the Defendants do not arise “out of the same
                                                           15   transaction or occurrence” as the claims against the other defendants. There are 9
                                                           16   defendants against which Plaintiffs allege dozens of unique claims. The claims arise
                                                           17   out of distinct alleged accidents, and involve distinct purported insurance or policies
                                                           18   many of which containing unique policy language, distinct Medicare claims, and
                                                           19   distinct settlements with individuals. They are distinct in time, place and parties; they
                                                           20   are brought on behalf of different Assignors and via different sets of purported
                                                           21   assignments; they have entirely separate legal analyses for the affirmative claims and
                                                           22   defenses; and they are governed by distinct insurance laws including without
                                                           23   limitation distinct conditions precedents to suits. Where, as here, there are distinct
                                                           24   factual allegations as to each party, and no concert between the parties, the “same
                                                           25   transaction or occurrence” test cannot be satisfied.         See Nassau County Ass’n.
                                                           26   of Insurance Agents, Inc. v. Aetna Life & Casualty Co., 497 F.2d 1151, 1154 (2d Cir.
                                                           27   1974) (finding misjoinder of insurance defendants where there was no showing of a
                                                           28   right to relief from the same transaction or series of transactions or allegation of
                                                                57027219;1                              21                    2:17-cv-02559-CAS-PLA
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                                                            1   conspiracy or other concert of action).
                                                            2            3.   Plaintiffs do not have standing to assert the claims alleged in the
                                                            3   Complaint. In support of this affirmative defense, Defendants allege among other
                                                            4   things the following: The agreements on which Plaintiffs rely to give them standing
                                                            5   convey nothing to the named Plaintiffs. They are facially defective and do not even
                                                            6   confer standing to bring this lawsuit against Defendants and, therefore, dismissal is
                                                            7   required. None of the agreements specifically state what is being “assigned”, and they
                                                            8   permit either party to terminate at any time without cause. Therefore, with respect to
                                                            9   the alleged “assignments,” the two named Plaintiffs here are not the ultimate
                                                           10   “assignees” of anything and have no standing to sue. Spokeo, Inc. v. Robins, 136
                                                           11   S.Ct. 1540 (2016).       Further, the agreements upon which Plaintiffs rely are
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                                                           12   contingency-based collections agreements, not irrevocable assignments of rights to
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                                                           13   ownership of receivables and the ability to sue to collect such receivables as alleged.
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                                                           14   The agreements permit the assignees to attempt to locate and collect unidentified
                                                           15   “costs already paid for and/or generate revenue on a fee for services provided and/or
                                                           16   shift current expenses incurred.” Anything less than a complete “assignment” of
                                                           17   “title” to a claim is insufficient to confer standing. Cortlandt Street Recovery Corp. v.
                                                           18   Hellas Telecomms., 790 F.3d 411, 418-20 (2d Cir. 2015) (finding that “assignment” of
                                                           19   the right to collect payment or pursue remedies does not confer standing if plaintiff
                                                           20   does not hold “legal title to, or a proprietary interest in, the claim”) (internal citations
                                                           21   omitted). Moreover, the rights to terminate the so-called assignments at any time
                                                           22   nullifies any purported assignment because Plaintiffs cannot sue under an
                                                           23   “assignment” when the assignor has the ability to revoke its consent to collect on the
                                                           24   claims at any time and for any reason (effectively rendering the purported
                                                           25   “assignment” void). See e.g., Prince of Peace Enter., Inc. v. Top Quality Food Mkt.,
                                                           26   LLC, No. 07 CIV. 00349 (RJH), 2007 WL 704171, at *3 (S.D.N.Y. Mar. 7, 2007),
                                                           27   adhered to on denial of reconsideration, 496 F. Supp. 2d 354 (S.D.N.Y. 2007)
                                                           28   (distributorship agreement that plaintiff claimed to be “assignment” explicitly
                                                                57027219;1                              22                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   permitted assignor to terminate and merely granted rights to use and enforce
                                                            2   trademarks, and thus it was held to be “[u]nlike an assignment, which is an irrevocable
                                                            3   transfer of all rights”). In addition, specifically as to each purported assignor:
                                                            4                  a.     Assignor Plum Healthcare, LLC.
                                                            5                  Plaintiffs allege that on December 13, 2016, Plum Healthcare Group,
                                                            6            LLC entered into an agreement with MSP Recovery, LLC, (not either of the
                                                            7            Plaintiffs here), “irrevocably assigning its right to recover conditional payments
                                                            8            under the MSP law” under Florida law; then on June 12, 2017, “MSP Recovery,
                                                            9            LLC entered into an agreement with MSP Recovery Claims, Series LLC,
                                                           10            irrevocably assigning its right to recover conditional payments . . . as assigned
                                                           11            from Plum Healthcare Group, LLC.” Plaintiffs allege that the second
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                                                           12            assignment “was made pursuant to the Series 16-10-504 agreement” and was
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                                                           13            “entered into under Delaware law.”
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                                                           14                  Plaintiffs lack standing because the assignments upon which they rely (as
                                                           15            set forth in Exhibit A to the Fourth Amended Complaint), are facially and
                                                           16            materially flawed. These assignments fail to convey the rights as alleged, for
                                                           17            reasons including, but not limited to: (1) neither of the named Plaintiffs are the
                                                           18            ultimate “assignees” of anything and they are not even a party to any of the
                                                           19            alleged transactions notwithstanding Plaintiffs’ allegation to the contrary; (2)
                                                           20            Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the signatories of
                                                           21            both parties to the June 12, 2017 agreement appear to be persons signing on
                                                           22            behalf of entities other than the parties to the agreement, with no explanation
                                                           23            whatsoever (e.g., Series 16-10-504, LLC has as its signatory “Series MRCS,
                                                           24            LLC, its Manager, John H. Ruiz”); (4) Plum Healthcare, LLC is not and has
                                                           25            never been a licensed provider of medical care or healthcare, is not an insurer
                                                           26            for medical care or healthcare, or an MA Plan and does not provide any direct
                                                           27            medical services that may be billed to MA Plans; (5) the December 13, 2016
                                                           28            agreement has been terminated; (6) Plum Healthcare, LLC has not been billed
                                                                57027219;1                              23                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 25 of 63 Page ID
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                                                            1            or charged for any conditional payments, nor has it made any conditional
                                                            2            payments or borne the cost of any conditional payments supposedly at issue in
                                                            3            this Action or otherwise; and (7) the June 12, 2017 agreement post-dates the
                                                            4            filing of this case and therefore Plaintiffs lacked standing under that agreement
                                                            5            at the time the case was filed and standing must exist at the inception of the
                                                            6            case. In addition, Plaintiffs have failed to sufficiently allege the terms of the
                                                            7            “Series 16-10-504 agreement” pursuant to which the second assignment was
                                                            8            purportedly “made.”
                                                            9                  b.    Assignor SummaCare, Inc.
                                                           10                  Plaintiffs allege that on May 12, 2017, SummaCare, Inc. “entered into an
                                                           11            agreement with MSP Recovery, LLC irrevocably assigning its right to recover
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                                                           12            conditional payments under the MSP law” under Ohio law; then on June 12,
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                                                           13            2017, “MSP Recovery, LLC entered into an agreement with MSP Recovery
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                                                           14            Claims, Series LLC, irrevocably assigning its right to recover conditional
                                                           15            payments . . . as assigned from SummaCare, Inc.” Plaintiffs allege that the
                                                           16            second assignment “was made pursuant to the Series 16-11-509 agreement” and
                                                           17            was “entered into under Delaware law.”
                                                           18                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           19            facially and materially flawed. These assignments fail to convey the rights as
                                                           20            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           21            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           22            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           23            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
                                                           24            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           25            signing on behalf of entities other than the parties to the agreement, with no
                                                           26            explanation whatsoever (e.g., Series 16-11-509, LLC has as its signatory
                                                           27            “Series MRCS, LLC, its Manager, John H. Ruiz”); (4) the May 12, 2017
                                                           28            agreement is limited to claims with dates of service from January 1, 2009 up to
                                                                57027219;1                              24                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1            May 12, 2018; (5) the May 12, 2017 agreement excludes claims identified by
                                                            2            other vendors under contract with SummaCare, Inc. and Plaintiffs fail to allege
                                                            3            any facts to establish that the purported claims here were never assigned to or
                                                            4            are not being pursued by other recovery vendor; (6) the June 12, 2017
                                                            5            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                            6            standing under that agreement at the time the case was filed and standing must
                                                            7            exist at the inception of the case.
                                                            8                  In addition, Plaintiffs have failed to sufficiently allege the terms of the
                                                            9            “Series 16-11-509 agreement” pursuant to which the second assignment was
                                                           10            purportedly “made”.
                                                           11                  c.     Assignor Verimed IPA, LLC.
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                                                           12                  Plaintiffs allege that on April 7, 2016, Verimed IPA, LLC “entered into
                LOS ANGELES, CALIFORNIA 90071




                                                           13            an agreement with MSP Recovery, LLC irrevocably assigning its right to
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                                                           14            recover conditional payments under the MSP law” under Florida law; then on
                                                           15            June 12, 2017, “MSP Recovery, LLC entered into an agreement with MSP
                                                           16            Recovery Claims, Series LLC, irrevocably assigning its right to recover
                                                           17            conditional payments . . . as assigned from Verimed IPA, LLC” Plaintiffs allege
                                                           18            that the second assignment “was made pursuant to the Series 15-09-108
                                                           19            agreement” and was “entered into under Delaware law.”
                                                           20                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           21            facially and materially flawed. These assignments fail to convey the rights as
                                                           22            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           23            Plaintiffs are the ultimate “assignees” of anything and are not even a party to
                                                           24            any of the alleged transactions; (2) Plaintiff MSPA Claims 1, LLC is not even
                                                           25            mentioned; (3) the signatories of both parties to the June 12, 2017 agreement
                                                           26            appear to be persons signing on behalf of entities other than the parties to the
                                                           27            agreement, with no explanation whatsoever (e.g., Series 15-09-108, LLC has as
                                                           28            its signatory “Series MRCS, LLC, its Manager, John H. Ruiz”); (4) Verimed
                                                                57027219;1                              25                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 27 of 63 Page ID
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                                                            1            IPA, LLC is not and has never been a licensed provider of medical care or
                                                            2            healthcare, is not an insurer for medical care or healthcare, or an MA Plan and
                                                            3            provides not direct medical services that may be billed to MA Plans; (5)
                                                            4            Verimed IPA, LLC has not been billed or charged for any conditional
                                                            5            payments, nor has it made any conditional payments or borne the cost of any
                                                            6            conditional payments supposedly at issue in this Action or otherwise; (6) The
                                                            7            April 7, 2016 agreement has been terminated; and (7) the June 12, 2017
                                                            8            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                            9            standing under that agreement at the time the case was filed and standing must
                                                           10            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                           11            sufficiently allege the terms of the “Series 15-09-108 agreement” pursuant to
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                                                           12            which Plaintiffs allege the second assignment was purportedly “made.”
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                                                           13                    d.    Assignor MCCI Group Holdings, LLC.
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                                                           14                    Plaintiffs allege that on December 3, 2014, MCCI Group Holdings, LLC
                                                           15            entered into an agreement “with MSP Recovery, LLC irrevocably assigning its
                                                           16            right to recover conditional payments under the MSP law” under Florida law;
                                                           17            then on February 20, 2015, “MSP Recovery, LLC entered into an agreement
                                                           18            with MSPA Claims 1, LLC, irrevocably assigning its right to recover
                                                           19            conditional payments . . . as assigned from MCCI Group Holdings, LLC.”
                                                           20            Plaintiffs allege that the second assignment was “entered into under Florida
                                                           21            law.”
                                                           22                    Plaintiffs lack standing because the assignments upon which they rely are
                                                           23            facially and materially flawed. These assignments fail to convey the rights as
                                                           24            alleged, for reasons including, but not limited to: (1) Plaintiff MSP Recovery
                                                           25            Claims, Series LLC is not even mentioned; (2) the signatory of the assignee
                                                           26            (Plaintiff MSPA Claims 1, LLC) to the February 20, 2015 agreement appears to
                                                           27            be a person signing on behalf of an entity other than this assignee, with no
                                                           28            explanation whatsoever (e.g., MSPA Claims 1, LLC has as its signatory “Chris
                                                                57027219;1                              26                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 28 of 63 Page ID
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                                                            1            Claflin, Managing Member of MSP Recovery Services LLC”); (3) MCCI
                                                            2            Group Holdings, LLC lacked any rights to assign under the December 3, 2014
                                                            3            agreement; (4) the December 3, 2014 agreement could not be further assigned
                                                            4            without the assignor’s written consent and no such consent has been alleged; (5)
                                                            5            the December 3, 2014 agreement was for a term of five years and Plaintiffs fail
                                                            6            to allege whether the agreement was renewed or terminated at the time of its
                                                            7            expiration; (6) any claims involving any Humana entities are excluded from the
                                                            8            assignment pursuant to the December 3, 2014 agreement, which states that all
                                                            9            such rights have been assigned to Humana; and (7) MCCI Group Holdings,
                                                           10            LLC has not been billed or charged for any conditional payments, nor has it
                                                           11            made any conditional payments or borne the cost of any conditional payments
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                                                           12            supposedly at issue in this Action or otherwise.
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                                                           13                  e.     Assignor Healthcare Advisors Services, Inc.
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                                                           14                  Plaintiffs allege that on August 28, 2015, Healthcare Advisors Services,
                                                           15            Inc. entered into an agreement “with MSP Recovery, LLC irrevocably
                                                           16            assigning its right to recover conditional payments under the MSP law” under
                                                           17            Florida law; then on June 12, 2017, “MSP Recovery, LLC entered into an
                                                           18            agreement with MSP Recovery Claims, Series LLC, irrevocably assigning its
                                                           19            right to recover conditional payments . . . as assigned from Healthcare Advisors
                                                           20            Services, Inc.” Plaintiffs allege that the second assignment “was made pursuant
                                                           21            to the Series 15-08-27 agreement” and was “entered into under Delaware law.”
                                                           22                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           23            facially and materially flawed. These assignments fail to convey the rights as
                                                           24            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           25            Plaintiffs are the ultimate “assignees” of anything and are not even a party to
                                                           26            any of the alleged transactions; (2) Plaintiff MSPA Claims 1, LLC is not even
                                                           27            mentioned; (3) the signatories of both parties to the June 12, 2017 agreement
                                                           28            appear to be persons signing on behalf of entities other than the parties to the
                                                                57027219;1                              27                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 29 of 63 Page ID
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                                                            1            agreement, with no explanation whatsoever (e.g., Series 15-08-27 has as its
                                                            2            signatory “Series MRCS, LLC, its Manager, John H. Ruiz”); (4) the purported
                                                            3            “August 18, 2015” agreement does not actually include the full date (and omits
                                                            4            the month), rendering it invalid; (5) Healthcare Advisors Services, Inc. has not
                                                            5            been billed or charged for any conditional payments, nor has it made any
                                                            6            conditional payments or borne the cost of any conditional payments supposedly
                                                            7            at issue in this Action or otherwise; and (6) the June 12, 2017 agreement post-
                                                            8            dates the filing of this case and therefore Plaintiffs lacked standing under that
                                                            9            agreement at the time the case was filed and standing must exist at the inception
                                                           10            of the case. In addition, Plaintiffs have failed to sufficiently allege the terms of
                                                           11            the “Series 15-08-27 agreement” pursuant to which Plaintiffs allege the second
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                                                           12            assignment was purportedly “made.”
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                                                           13                  f.     Assignor Florida Health Care Plus, Inc.
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                                                           14                  Plaintiffs allege that on April 15, 2014, Florida Healthcare Plus, Inc.
                                                           15            “entered into an agreement with La Ley Recovery Systems, Inc., irrevocably
                                                           16            assigning its right to recover conditional payments under the MSP law” under
                                                           17            Florida law; then on February 20, 2015, “Lay [sic] Ley Recovery Systems, Inc.
                                                           18            entered into an agreement under Florida law with MSPA Claims 1, LLC
                                                           19            irrevocably assigning its right to recover conditional payments under the MSP
                                                           20            law as assigned from Florida Healthcare Plus, Inc. Next, Plaintiffs allege that
                                                           21            “a Settlement Agreement was entered into….[and] [s]uch agreement confirmed
                                                           22            the ownership of all of Florida Healthcare Plus, Inc.’s claims relating to
                                                           23            conditional payments under the MSP law to MSPA Claims 1, LLC, ultimately.”
                                                           24            Plaintiffs further allege that on June 14, 2016, the “Settlement Agreement was
                                                           25            approved by the Leon County Court of Florida.”
                                                           26                  Plaintiffs lack standing because the agreements upon which they rely is
                                                           27            facially and materially flawed. This agreements fail to convey the rights as
                                                           28            alleged, for reasons including, but not limited to: the La Ley Recovery Systems
                                                                57027219;1                              28                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 30 of 63 Page ID
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                                                            1            Agreement expired in 2015 or 2016 (if it was renewed) and that expiration and
                                                            2            any other termination could not be cured by any subsequent agreement with the
                                                            3            Florida Department of Financial Services.
                                                            4                  g.    Assignor EmblemHealth Services Company, LLC.
                                                            5                  Plaintiffs allege that on March 20, 2018, EmblemHealth Services
                                                            6            Company, LLC entered into an agreement “with MSP Recovery Claims, Series
                                                            7            LLC, pursuant to Series 16-08-483, irrevocably assigning its right to recover
                                                            8            conditional payments under the MSP law” under New York law.
                                                            9                  Plaintiffs lack standing because the assignment upon which they rely is
                                                           10            facially and materially flawed. This assignment fails to convey the rights as
                                                           11            alleged, for reasons including, but not limited to: (1) the named Plaintiffs are
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                                                           12            not the ultimate “assignees” of anything and are not even parties to the alleged
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                                                           13            transaction; (2) the assignment assigns only those rights concerning “Medicare
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                                                           14            [h]ealth [c]are [s]ervices that were rendered and paid for by [the assignor]
                                                           15            during the six ... year period beginning September 29, 2011 and ending
                                                           16            September 29, 2017” and Plaintiffs failed to allege the date that any payments
                                                           17            were made either in the Fourth Amended Complaint or its Exhibit A (see, e.g.,
                                                           18            MSP Recovery Claims, Series LLC v. Tech. Ins. Co., No. 18-08036, 2020 WL
                                                           19            91540, at *4 (S.D.N.Y. Jan. 9, 2020)1 (dismissing action for lack of standing
                                                           20            and explaining that “the Court does not and cannot know if [the assignor’s]
                                                           21            payment was made between September 29, 2011 and September 29, 2017, and
                                                           22            thus, whether Plaintiffs have been assigned the rights to recover conditional
                                                           23            payments”); (3) the assignment specifically excludes all claims that “have been
                                                           24            assigned to and/or are being pursued by other recovery vendors” and Plaintiffs
                                                           25            failed to sufficiently allege that the claims on Exhibit A have not previously
                                                           26
                                                                         1
                                                           27             The analysis in Tech. Ins. Co. concerns an assignment from Health Insurance
                                                                Plan of Greater New York, which was also executed by EmblemHealth Services
                                                           28   Company, LLC and Group Health, Inc. This same assignment at issue in Tech Ins. Co.
                                                                is at issue in this case as to all three entities.
                                                                57027219;1                              29                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 31 of 63 Page ID
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                                                            1            been assigned to another recovery vendor or were not already being pursued by
                                                            2            another recovery vendor. (Id. (finding that the failure “to allege that the
                                                            3            representative claims were never assigned to or are being pursued by other
                                                            4            recovery vendors” is a fatal flaw); and (4) the March 20, 2018 agreement post-
                                                            5            dates the filing of this case and therefore Plaintiffs lacked standing under that
                                                            6            agreement at the time the case was filed and standing must exist at the inception
                                                            7            of the case. In addition, Plaintiffs failed to sufficiently allege the terms of
                                                            8            “Series 16-08-483,” pursuant to which Plaintiffs allege the assignment was
                                                            9            purportedly made.
                                                           10                  h.    Assignor Health Insurance Plan of Greater New York.
                                                           11                  Plaintiffs allege that on March 20, 2018, Health Insurance Plan of
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                                                           12            Greater New York entered into an agreement “with MSP Recovery Claims,
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                                                           13            Series LLC, pursuant to Series 16-08-483, irrevocably assigning its right to
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                                                           14            recover conditional payments under the MSP law” under New York law.
                                                           15                  Plaintiffs lack standing because the assignment upon which they rely is
                                                           16            facially and materially flawed. This assignment fails to convey the rights as
                                                           17            alleged, for reasons including, but not limited to: (1) the named Plaintiffs are
                                                           18            not the ultimate “assignees” of anything and are not even parties to the alleged
                                                           19            transaction; (2) the assignment assigns only those rights concerning “Medicare
                                                           20            [h]ealth [c]are [s]ervices that were rendered and paid for by [the assignor]
                                                           21            during the six ... year period beginning September 29, 2011 and ending
                                                           22            September 29, 2017” and Plaintiffs failed to allege the date that any payments
                                                           23            were made either in the Fourth Amended Complaint or its Exhibit A (see, e.g.,
                                                           24            MSP Recovery Claims, Series LLC v. Tech. Ins. Co., No. 18-08036, 2020 WL
                                                           25            91540, at *4 (S.D.N.Y. Jan. 9, 2020)2 (dismissing action for lack of standing
                                                           26
                                                                         2
                                                           27            The analysis in Tech. Ins. Co. addresses an alleged assignment from Health
                                                                Insurance Plan of Greater New York that also covers assignors EmblemHealth
                                                           28   Services Company, LLC and Group Health, Inc. This same assignment is at issue in
                                                                this case as to all three entities.
                                                                57027219;1                              30                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 32 of 63 Page ID
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                                                            1            and explaining that “the Court does not and cannot know if [the assignor’s]
                                                            2            payment was made between September 29, 2011 and September 29, 2017, and
                                                            3            thus, whether Plaintiffs have been assigned the rights to recover conditional
                                                            4            payments”); (3) the assignment specifically excludes all claims that “have been
                                                            5            assigned to and/or are being pursued by other recovery vendors” and Plaintiffs
                                                            6            failed to sufficiently allege that the claims on Exhibit A have not previously
                                                            7            been assigned to another recovery vendor or were not already being pursued by
                                                            8            another recovery vendor. (Id. (finding that the failure “to allege that the
                                                            9            representative claims were never assigned to or are being pursued by other
                                                           10            recovery vendors” is a fatal flaw)); and (4) the March 20, 2018 agreement post-
                                                           11            dates the filing of this case and therefore Plaintiffs lacked standing under that
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                                                           12            agreement at the time the case was filed and standing must exist at the inception
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                                                           13            of the case. In addition, Plaintiffs failed to sufficiently allege the terms of
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                                                           14            “Series 16-08-483,” pursuant to which Plaintiffs allege the assignment was
                                                           15            purportedly made.
                                                           16                  i.    Assignor Group Health Inc.
                                                           17                  Plaintiffs allege that on March 20, 2018, Group Health Inc. entered into
                                                           18            an agreement “with MSP Recovery Claims, Series LLC, pursuant to Series 16-
                                                           19            08-483, irrevocably assigning its right to recover conditional payments under
                                                           20            the MSP law” under New York law.
                                                           21                  Plaintiffs lack standing because the assignment upon which they rely is
                                                           22            facially and materially flawed. This assignment fails to convey the rights as
                                                           23            alleged, for reasons including, but not limited to: (1) the named Plaintiffs are
                                                           24            not the ultimate “assignees” of anything and are not even parties to the alleged
                                                           25            transaction; (2) the assignment assigns only those rights concerning “Medicare
                                                           26            [h]ealth [c]are [s]ervices that were rendered and paid for by [the assignor]
                                                           27            during the six ... year period beginning September 29, 2011 and ending
                                                           28            September 29, 2017” and Plaintiffs failed to allege the date that any payments
                                                                57027219;1                              31                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 33 of 63 Page ID
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                                                            1            were made either in the Fourth Amended Complaint or its Exhibit A (see, e.g.,
                                                            2            MSP Recovery Claims, Series LLC v. Tech. Ins. Co., No. 18-08036, 2020 WL
                                                            3            91540, at *4 (S.D.N.Y. Jan. 9, 2020)3 (dismissing action for lack of standing
                                                            4            and explaining that “the Court does not and cannot know if [the assignor’s]
                                                            5            payment was made between September 29, 2011 and September 29, 2017, and
                                                            6            thus, whether Plaintiffs have been assigned the rights to recover conditional
                                                            7            payments”); (3) the assignment specifically excludes all claims that “have been
                                                            8            assigned to and/or are being pursued by other recovery vendors” and Plaintiffs
                                                            9            failed to sufficiently allege that the claims on Exhibit A have not previously
                                                           10            been assigned to another recovery vendor or were not already being pursued by
                                                           11            another recovery vendor. (Id. (finding that the failure “to allege that the
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                                                           12            representative claims were never assigned to or are being pursued by other
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                                                           13            recovery vendors” is a fatal flaw)); and (4) the March 20, 2018 agreement post-
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                                                           14            dates the filing of this case and therefore Plaintiffs lacked standing under that
                                                           15            agreement at the time the case was filed and standing must exist at the inception
                                                           16            of the case. In addition, Plaintiffs failed to sufficiently allege the terms of
                                                           17            “Series 16-08-483,” pursuant to which Plaintiffs allege the assignment was
                                                           18            purportedly made.
                                                           19                  j.    Assignor Connecticare, Inc.
                                                           20                  Plaintiffs allege that on March 20, 2018, Connecticare, Inc. entered into
                                                           21            an agreement “with MSP Recovery Claims, Series LLC, pursuant to Series 15-
                                                           22            09-157 [sic], irrevocably assigning its right to recover conditional payments
                                                           23            under the MSP law” under Connecticut law.
                                                           24                  Plaintiffs lack standing because the assignment upon which they rely is
                                                           25            facially and materially flawed. This assignment fails to convey the rights as
                                                           26
                                                                         3
                                                           27            The analysis in Tech. Ins. Co. addresses an alleged assignment from Health
                                                                Insurance Plan of Greater New York that also covers assignors EmblemHealth
                                                           28   Services Company, LLC and Group Health, Inc. This same assignment is at issue in
                                                                this case as to all three entities.
                                                                57027219;1                              32                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1            alleged, for reasons including, but not limited to: (1) the named Plaintiffs are
                                                            2            not the ultimate “assignee” of anything and are not even parties to the alleged
                                                            3            transaction; (2) the purported agreement contains no signature (or even any
                                                            4            acknowledgment) on behalf of the purported assignee to reflect that the
                                                            5            assignee accepted the purported assignment; (3) the purported agreement
                                                            6            excludes certain unidentified claims yet it contains no list of which claims were
                                                            7            included and which were excluded; and (4) the March 20, 2018 agreement post-
                                                            8            dates the filing of this case and therefore Plaintiffs lacked standing under that
                                                            9            agreement at the time the case was filed and standing must exist at the inception
                                                           10            of the case. In addition, Plaintiffs failed to sufficiently allege the terms of
                                                           11            “Series 15-09-157,” pursuant to which Plaintiffs allege the assignment was
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                                                           12            purportedly made.
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                                                           13                  k.     Assignor AvMed, Inc.
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                                                           14                  Plaintiffs allege that on August 16, 2019, AvMed, Inc. entered into an
                                                           15            agreement “with MSP Recovery Claims, Series LLC, pursuant to the Series 17-
                                                           16            03-615 [sic], irrevocably assigning its right to recover conditional payments
                                                           17            under the MSP law” under Florida law.
                                                           18                  Plaintiffs lacks standing because the assignment upon which they rely is
                                                           19            facially and materially flawed. This assignment fails to convey the rights as
                                                           20            alleged, for reasons including, but not limited to: (1) the named Plaintiffs are
                                                           21            not the ultimate “assignee” of anything and are not even parties to the alleged
                                                           22            transaction; (2) the purported agreement contains no signature (or even any
                                                           23            acknowledgment) on behalf of the purported assignee to reflect that the
                                                           24            assignee accepted the purported assignment; and (3) the August 16, 2019
                                                           25            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                           26            standing under that agreement at the time the case was filed and standing must
                                                           27            exist at the inception of the case. In addition, Plaintiffs failed to sufficiently
                                                           28            allege the terms of the “Series 17-03-615,” pursuant to which Plaintiffs allege
                                                                57027219;1                              33                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 35 of 63 Page ID
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                                                            1            the assignment was purportedly made.
                                                            2                  l.     Assignor Dean Health Plan, Inc.
                                                            3                  Plaintiffs allege that on September 24, 2018, Dean Health Plan, Inc.
                                                            4            “entered into an agreement with MSP Recovery, LLC irrevocably assigning its
                                                            5            right to recover conditional payments under the MSP law” under Wisconsin
                                                            6            law; then on August 15, 2019, “MSP Recovery, LLC entered into an agreement
                                                            7            with MSP Recovery Claims, Series LLC, pursuant to Series 15-09-354,
                                                            8            irrevocably assigning its right to recover conditional payments . . . as assigned
                                                            9            from Dean Health Plan, Inc.” Plaintiffs allege that the second assignment was
                                                           10            “entered into under Florida law.”
                                                           11                  Plaintiffs lack standing because the assignments upon which they rely are
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                                                           12            facially and materially flawed. These assignments fail to convey the rights as
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                                                           13            alleged, for reasons including, but not limited to: (1) neither of the named
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                                                           14            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           15            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           16            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           17            signatories of both parties to the August 15, 2019 agreement appear to be
                                                           18            persons signing on behalf of entities other than the parties to the agreement,
                                                           19            with no explanation whatsoever (e.g., Series 15-09-354 has as its signatory
                                                           20            “Series MRCS, a designated series of MDA, Series, LLC”); and (4) the
                                                           21            September 24, 2018 agreement post-dates the filing of this case and therefore
                                                           22            Plaintiffs lacked standing under that agreement at the time the case was filed
                                                           23            and standing must exist at the inception of the case. In addition, Plaintiffs have
                                                           24            failed to sufficiently allege the terms of “Series 15-09-354” pursuant to which
                                                           25            the second assignment was purportedly “entered into.”
                                                           26                  m.     Assignor Family Physicians of Winter Park, Inc. d/b/a Family
                                                           27                         Physicians Group.
                                                           28                  Plaintiffs allege that on October 6, 2017, Family Physicians of Winter
                                                                57027219;1                              34                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 36 of 63 Page ID
                                                                                             #:9346



                                                            1            Park, Inc d/b/a Family Physicians Group “entered into an agreement with MSP
                                                            2            Recovery, LLC irrevocably assigning its right to recover conditional payments
                                                            3            under the MSP law” under Florida law; then on October 10, 2017, “MSP
                                                            4            Recovery, LLC entered into an agreement with MSP Recovery Claims, Series
                                                            5            LLC, pursuant to Series 17-05-634, irrevocably assigning its right to recover
                                                            6            conditional payments . . . as assigned from Family Physicians Group.” Plaintiffs
                                                            7            allege that the second assignment was “entered into under Florida law.”
                                                            8                  Plaintiffs lack standing because the assignments upon which they rely are
                                                            9            facially and materially flawed. These assignments fail to convey the rights as
                                                           10            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           11            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
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                                                           12            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
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                                                           13            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
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                                                           14            signatories of both parties to the October 10, 2017 agreement appear to be
                                                           15            persons signing on behalf of entities other than the parties to the agreement,
                                                           16            with no explanation whatsoever (e.g., Series 17-05-634 has as its signatory
                                                           17            “Series MRCS, LLC, its Manager, John H. Ruiz”); (4) the October 6, 2017
                                                           18            agreement could not be further assigned by the initial assignee without the
                                                           19            assignor’s consent and no such consent has been alleged; (5) Family Physicians
                                                           20            of Winter Park, Inc. d/b/a Family Physicians Group has not been billed or
                                                           21            charged for any conditional payments, nor has it made any conditional
                                                           22            payments or borne the cost of any conditional payments supposedly at issue in
                                                           23            this Action or otherwise; (6) the October 6, 2017 agreement post-dates the filing
                                                           24            of this case and therefore Plaintiffs lacked standing under that agreement at the
                                                           25            time the case was filed and standing must exist at the inception of the case. In
                                                           26            addition, Plaintiffs have failed to sufficiently allege the terms of “Series 17-05-
                                                           27            634” pursuant to which the second assignment was purportedly “entered into.”
                                                           28                  n.     Assignor Health First Administrative Plans.
                                                                57027219;1                              35                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 37 of 63 Page ID
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                                                            1                  Plaintiffs allege that on April 28, 2016, “Health First Administrative
                                                            2            Plans [“HFAP”], on behalf of Health First Health Plans, entered into an
                                                            3            agreement with MSP Recovery, LLC irrevocably assigning its right to recover
                                                            4            conditional payments under the MSP law” under Florida law; then on June 12,
                                                            5            2017, “MSP Recovery, LLC entered into an agreement with MSP Recovery
                                                            6            Claims, Series LLC, pursuant to Series 16-05-456, irrevocably assigning its
                                                            7            right to recover conditional payments . . . as assigned from Health First Health
                                                            8            Plans [“HFHP”].” Plaintiffs allege that the second assignment was “entered into
                                                            9            under Florida law.”
                                                           10                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           11            facially and materially flawed. These assignments fail to convey the rights as
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                                                           12            alleged, for reasons including, but not limited to: (1) neither of the named
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                                                           13            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
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                                                           14            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           15            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
                                                           16            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           17            signing on behalf of entities other than the parties to the agreement, with no
                                                           18            explanation whatsoever (e.g., Series 16-05-456, LLC has as its signatory
                                                           19            “Series MRCS, LLC, its Manager, John H. Ruiz”); (4) Plaintiffs fail to
                                                           20            plausibly allege how HFAP entered into the April 28, 2016 agreement “on
                                                           21            behalf of Health First Health Plans”; (5) even if the June 12, 2017 agreement
                                                           22            assigned HFAP’s right to recover to Plaintiffs, this would not convey standing
                                                           23            to Plaintiffs in this case because here Plaintiffs seek to recover based on alleged
                                                           24            injury to HFHP; (6) even if the June 12, 2017 agreement assigned HFAP’s right
                                                           25            to recover to Plaintiffs, this would not convey standing to Plaintiffs in this case
                                                           26            because HFAP has suffered no injury; and (7) the June 12, 2017 agreement
                                                           27            post-dates the filing of this case and therefore Plaintiffs lacked standing under
                                                           28            that agreement at the time the case was filed and standing must exist at the
                                                                57027219;1                              36                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 38 of 63 Page ID
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                                                            1            inception of the case. In addition, Plaintiffs have failed to sufficiently allege the
                                                            2            terms of “Series 16-05-456” pursuant to which the second assignment was
                                                            3            purportedly “entered into.” In MSP Recovery Claims, Series LLC v. QBE
                                                            4            Holdings, Inc., the court addressed “exactly the same HFHP/HFAP assignment
                                                            5            documents on which Plaintiffs rely here. . . [and] affirmed the district court’s
                                                            6            dismissal of the case, holding that these documents were insufficient to provide
                                                            7            the plaintiffs with standing.” MSP Recovery Claims, Series LLC v. AIX
                                                            8            Specialty Ins. Co., No. 18-1456, at *9 (M.D. Fla. Aug. 10, 2020), app.
                                                            9            dismissed, citing MSP Recovery Claims, Series LLC v. QBE Holdings, Inc., 965
                                                           10            F.3d 1210 (11th Cir. 2020).
                                                           11                  o.     Assignor Risk Watchers, Inc.
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                                                           12                  Plaintiffs allege that on February 18, 2016, Risk Watchers, Inc. “entered
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                                                           13            into an agreement with MSP Recovery, LLC irrevocably assigning its right to
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                                                           14            recover conditional payments under the MSP law” under Florida law; then on
                                                           15            June 12, 2017, “MSP Recovery, LLC entered into an agreement with MSP
                                                           16            Recovery Claims, Series LLC, pursuant to Series 15-09-31, irrevocably
                                                           17            assigning its right to recover conditional payments . . . as assigned from Risk
                                                           18            Watchers, Inc.” Plaintiffs allege that the second assignment was “entered into
                                                           19            under Delaware law.”
                                                           20                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           21            facially and materially flawed. These assignments fail to convey the rights as
                                                           22            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           23            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           24            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           25            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
                                                           26            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           27            signing on behalf of entities other than the parties to the agreement, with no
                                                           28            explanation whatsoever (e.g., Series 15-09-31 LLC has as its signatory “Series
                                                                57027219;1                              37                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 39 of 63 Page ID
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                                                            1            MRCS, LLC, its Manager, John H. Ruiz”); (4) Risk Watchers, Inc. has not been
                                                            2            billed or charged for any conditional payments, nor has it made any conditional
                                                            3            payments or borne the cost of any conditional payments supposedly at issue in
                                                            4            this Action or otherwise; and (5) the June 12, 2017 agreement post-dates the
                                                            5            filing of this case and therefore Plaintiffs lacked standing under that agreement
                                                            6            at the time the case was filed and standing must exist at the inception of the
                                                            7            case. In addition, Plaintiffs have failed to sufficiently allege the terms of “Series
                                                            8            15-09-31” pursuant to which the second assignment was purportedly “entered
                                                            9            into.”
                                                           10                     p.    Assignor Hygea Health Holdings, Inc.
                                                           11                     Plaintiffs allege that on September 14, 2015, Hygea Health Holdings, Inc.
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                                                           12            “entered into an agreement with MSP Recovery, LLC irrevocably assigning its
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                                                           13            right to recover conditional payments under the MSP law” under Florida law;
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                                                           14            then on June 12, 2017, “MSP Recovery, LLC entered into an agreement with
                                                           15            MSP Recovery Claims, Series LLC, pursuant to Series 15-08-19, irrevocably
                                                           16            assigning its right to recover conditional payments . . . as assigned from Hygea
                                                           17            Health Holdings, Inc.” Plaintiffs allege that the second assignment was “entered
                                                           18            into under Delaware law.”
                                                           19                     Plaintiffs lack standing because the assignments upon which they rely are
                                                           20            facially and materially flawed. These assignments fail to convey the rights as
                                                           21            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           22            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           23            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           24            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
                                                           25            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           26            signing on behalf of entities other than the parties to the agreement, with no
                                                           27            explanation whatsoever (e.g., Series 15-08-19, LLC has as its signatory “Series
                                                           28            MRCS, LLC, its Manager, John H. Ruiz”); (4) the September 14, 2015
                                                                57027219;1                              38                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 40 of 63 Page ID
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                                                            1            agreement was for a term of five years and Plaintiffs fail to allege that the
                                                            2            agreement was not terminated upon its expiration; (5) Hygea Health Holdings,
                                                            3            LLC went through Chapter 11 bankruptcy in 2020 and the September 14, 2015
                                                            4            agreement was rejected and not affirmed; (6) Hygea Health Holdings, Inc. has
                                                            5            not been billed or charged for any conditional payments, nor has it made any
                                                            6            conditional payments or borne the cost of any conditional payments supposedly
                                                            7            at issue in this Action or otherwise; and (7) the June 12, 2017 agreement post-
                                                            8            dates the filing of this case and therefore Plaintiffs lacked standing under that
                                                            9            agreement at the time the case was filed and standing must exist at the inception
                                                           10            of the case. In addition, Plaintiffs have failed to sufficiently allege the terms of
                                                           11            “Series 15-08-19” pursuant to which the second assignment was purportedly
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                                                           12            “entered into.”
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                                                           13                    q.    Assignor Medical Consultants Management, LLC.
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                                                           14                    Plaintiffs allege that on August 17, 2017, Medical Consultants
                                                           15            Management, LLC “entered into an agreement with MSP Recovery, LLC
                                                           16            irrevocably assigning its right to recover conditional payments under the MSP
                                                           17            law” under Florida law; then on September 8, 2017, “MSP Recovery, LLC
                                                           18            entered into an agreement with MSP Recovery Claims, Series LLC, pursuant to
                                                           19            Series 17-08-647, irrevocably assigning its right to recover conditional
                                                           20            payments . . . as assigned from Medical Consultants Management, LLC.”
                                                           21            Plaintiffs allege that the second assignment was “entered into under Delaware
                                                           22            law.”
                                                           23                    Plaintiffs lack standing because the assignments upon which they rely are
                                                           24            facially and materially flawed. These assignments fail to convey the rights as
                                                           25            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           26            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           27            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           28            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
                                                                57027219;1                              39                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 41 of 63 Page ID
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                                                            1            signatories of both parties to the September 8, 2017 agreement appear to be
                                                            2            persons signing on behalf of entities other than the parties to the agreement,
                                                            3            with no explanation whatsoever (e.g., Series 17-08-647 LLC has as its signatory
                                                            4            “Series MRCS, LLC, its Manager, John H. Ruiz”); (4) Medical Consultants
                                                            5            Management has not been billed or charged for any conditional payments, nor
                                                            6            has it made any conditional payments or borne the cost of any conditional
                                                            7            payments supposedly at issue in this Action or otherwise; and (5) the August
                                                            8            17, 2017 agreement post-dates the filing of this case and therefore Plaintiffs
                                                            9            lacked     standing under that agreement at the time the case was filed and
                                                           10            standing must exist at the inception of the case. In addition, Plaintiffs have
                                                           11            failed to sufficiently allege the terms of “Series 17-08-647” pursuant to which
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                                                           12            the second assignment was purportedly “entered into.”
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                                                           13                  r.      Assignor Network Health, Inc.
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                                                           14                  Plaintiffs allege that on August 9, 2017, Network Health, Inc. “entered
                                                           15            into an agreement with MSP Recovery, LLC irrevocably assigning its right to
                                                           16            recover conditional payments under the MSP law” under Wisconsin law; then
                                                           17            on August 10, 2019, “MSP Recovery, LLC entered into an agreement with
                                                           18            MSP Recovery Claims, Series LLC, pursuant to Series 15-09-355, irrevocably
                                                           19            assigning its right to recover conditional payments . . . as assigned from
                                                           20            Network Health, Inc.” Plaintiffs allege that the second assignment was “entered
                                                           21            into under Delaware law.”
                                                           22                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           23            facially and materially flawed. These assignments fail to convey the rights as
                                                           24            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           25            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           26            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           27            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           28            signatories of both parties to the August 10, 2019 agreement appear to be
                                                                57027219;1                              40                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 42 of 63 Page ID
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                                                            1            persons signing on behalf of entities other than the parties to the agreement,
                                                            2            with no explanation whatsoever (e.g., Series 15-09-355 has as its signatory
                                                            3            “Series MRCS, LLC, its Manager John H. Ruiz”); and (4) the August 9, 2017
                                                            4            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                            5            standing under that agreement at the time the case was filed and standing must
                                                            6            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                            7            sufficiently allege the terms of “Series 15-09-355” pursuant to which the second
                                                            8            assignment was purportedly “entered into.”
                                                            9                  s.    Assignor Preferred Primary Care, LLC.
                                                           10                  Plaintiffs allege that on February 18, 2016, Preferred Primary Care, LLC
                                                           11            “entered into an agreement with MSP Recovery, LLC irrevocably assigning its
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                                                           12            right to recover conditional payments under the MSP law” under Florida law;
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                                                           13            then on June 12, 2017, “MSP Recovery, LLC entered into an agreement with
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                                                           14            MSP Recovery Claims, Series LLC, pursuant to Series 16-02-435, irrevocably
                                                           15            assigning its right to recover conditional payments . . . as assigned from
                                                           16            Preferred Primary Care, LLC.” Plaintiffs allege that the second assignment was
                                                           17            “entered into under Delaware law.”
                                                           18                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           19            facially and materially flawed. These assignments fail to convey the rights as
                                                           20            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           21            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           22            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           23            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           24            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           25            signing on behalf of entities other than the parties to the agreement, with no
                                                           26            explanation whatsoever (e.g., Series 16-02-435 LLC has as its signatory “Series
                                                           27            MRCS, LLC., its Manager John H. Ruiz”); (4) Preferred Primary Care, LLC
                                                           28            has not been billed or charged for any conditional payments, nor has it made
                                                                57027219;1                              41                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 43 of 63 Page ID
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                                                            1            any conditional payments or borne the cost of any conditional payments
                                                            2            supposedly at issue in this Action or otherwise; and (5) the June 12, 2017
                                                            3            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                            4            standing under that agreement at the time the case was filed and standing must
                                                            5            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                            6            sufficiently allege the terms of “Series 16-02-435” pursuant to which the second
                                                            7            assignment was purportedly “entered into.”
                                                            8                    t.    Assignor Physician Access Urgent Care Group, LLC.
                                                            9                    Plaintiffs allege that on October 24, 2015, Physician Access Urgent Care
                                                           10            Group, LLC “entered into an agreement with MSP Recovery 15-580, LLC
                                                           11            irrevocably assigning its right to recover conditional payments under the MSP
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                                                           12            law” under Florida law; then on June 12, 2017, “MSP Recovery 15-580, LLC
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                                                           13            entered into an agreement with MSP Recovery Claims, Series LLC, pursuant to
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                                                           14            Series 15-10-362, irrevocably assigning its right to recover conditional
                                                           15            payments . . . as assigned from Physician Access Urgent Care Group, LLC.”
                                                           16            Plaintiffs allege that the second assignment was “entered into under Florida
                                                           17            law.”
                                                           18                    Plaintiffs lack standing because the assignments upon which they rely are
                                                           19            facially and materially flawed. These assignments fail to convey the rights as
                                                           20            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           21            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           22            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           23            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           24            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           25            signing on behalf of entities other than the parties to the agreement, with no
                                                           26            explanation whatsoever (e.g., Series 15-10-362 LLC has as its signatory “Series
                                                           27            MRCS, LLC., its Manager John H. Ruiz”); (4) Physician Access Urgent Care
                                                           28            Group, LLC has not been billed or charged for any conditional payments, nor
                                                                57027219;1                              42                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1            has it made any conditional payments or borne the cost of any conditional
                                                            2            payments supposedly at issue in this Action or otherwise; and (5) the June 12,
                                                            3            2017 agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                            4            standing under that agreement at the time the case was filed and standing must
                                                            5            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                            6            sufficiently allege the terms of “Series 16-10-362” pursuant to which the second
                                                            7            assignment was purportedly “entered into.”
                                                            8                  u.    Assignor Suncoast Medical Network 2.
                                                            9                  Plaintiffs allege that on September 21, 2015, Suncoast Medical Network
                                                           10            2, Inc. “entered into an agreement with MSP Recovery 220, LLC irrevocably
                                                           11            assigning its right to recover conditional payments under the MSP law” under
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                                                           12            Florida law; then on June 12, 2017, “MSP Recovery 220, LLC entered into an
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                                                           13            agreement with MSP Recovery Claims, Series LLC, pursuant to Series 15-08-
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                                                           14            10, irrevocably assigning its right to recover conditional payments . . . as
                                                           15            assigned from Suncoast Medical Network 2, Inc.” Plaintiffs allege that the
                                                           16            second assignment was “entered into under Florida law.”
                                                           17                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           18            facially and materially flawed. These assignments fail to convey the rights as
                                                           19            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           20            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           21            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           22            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           23            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           24            signing on behalf of entities other than the parties to the agreement, with no
                                                           25            explanation whatsoever (e.g., Series 15-08-10 LLC has as its signatory “Series
                                                           26            MRCS, LLC., its Manager John H. Ruiz”); (4) Suncoast Medical Network 2 has
                                                           27            not been billed or charged for any conditional payments, nor has it made any
                                                           28            conditional payments or borne the cost of any conditional payments supposedly
                                                                57027219;1                              43                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 45 of 63 Page ID
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                                                            1            at issue in this Action or otherwise; and (5) the June 12, 2017 agreement post-
                                                            2            dates the filing of this case and therefore Plaintiffs lacked standing under that
                                                            3            agreement at the time the case was filed and standing must exist at the inception
                                                            4            of the case. In addition, Plaintiffs have failed to sufficiently allege the terms of
                                                            5            “Series 15-08-10” pursuant to which the second assignment was purportedly
                                                            6            “entered into.”
                                                            7                  v.     Assignor Transatlantic Healthcare, LLC.
                                                            8                  Plaintiffs allege that on November 3, 2015, Transatlantic Healthcare,
                                                            9            LLC “entered into an agreement with MSP Recovery 15-131, LLC irrevocably
                                                           10            assigning its right to recover conditional payments under the MSP law” under
                                                           11            Florida law; then on June 12, 2017, “MSP Recovery 15-131, LLC entered into
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                                                           12            an agreement with MSP Recovery Claims, Series LLC, pursuant to Series 15-
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                                                           13            11-385, irrevocably assigning its right to recover conditional payments . . . as
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                                                           14            assigned from Transatlantic Healthcare, LLC.” Plaintiffs allege that the second
                                                           15            assignment was “entered into under Florida law.”
                                                           16                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           17            facially and materially flawed. These assignments fail to convey the rights as
                                                           18            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           19            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           20            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           21            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           22            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           23            signing on behalf of entities other than the parties to the agreement, with no
                                                           24            explanation whatsoever (e.g., Series 15-11-385, LLC has as its signatory
                                                           25            “Series MRCS, LLC., its Manager John H. Ruiz”); (4) Transatlantic Healthcare,
                                                           26            LLC not been billed or charged for any conditional payments, nor has it made
                                                           27            any conditional payments or borne the cost of any conditional payments
                                                           28            supposedly at issue in this Action or otherwise; and (5) the June 12, 2017
                                                                57027219;1                              44                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 46 of 63 Page ID
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                                                            1            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                            2            standing under that agreement at the time the case was filed and standing must
                                                            3            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                            4            sufficiently allege the terms of “Series 15-11-385” pursuant to which the second
                                                            5            assignment was purportedly “entered into.”
                                                            6                  w.    Assignor Trinity Physicians, LLC.
                                                            7                  Plaintiffs allege that on November 3, 2015, Trinity Physicians, LLC
                                                            8            “entered into an agreement with MSP Recovery 15-592, LLC irrevocably
                                                            9            assigning its right to recover conditional payments under the MSP law” under
                                                           10            Florida law; then on June 12, 2017, “MSP Recovery 15-592, LLC entered into
                                                           11            an agreement with MSP Recovery Claims, Series LLC, pursuant to Series 15-
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                                                           12            11-371, irrevocably assigning its right to recover conditional payments . . . as
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                                                           13            assigned from Trinity Physicians, LLC.” Plaintiffs allege that the second
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                                                           14            assignment was “entered into under Florida law.”
                                                           15                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           16            facially and materially flawed. These assignments fail to convey the rights as
                                                           17            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           18            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           19            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           20            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           21            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           22            signing on behalf of entities other than the parties to the agreement, with no
                                                           23            explanation whatsoever (e.g., Series 15-11-371, LLC has as its signatory
                                                           24            “Series MRCS, LLC., its Manager John H. Ruiz”); (4) Trinity Physicians, LLC
                                                           25            has not been billed or charged for any conditional payments, nor has it made
                                                           26            any conditional payments or borne the cost of any conditional payments
                                                           27            supposedly at issue in this Action or otherwise; and (5) the June 12, 2017
                                                           28            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                                57027219;1                              45                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 47 of 63 Page ID
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                                                            1            standing under that agreement at the time the case was filed and standing must
                                                            2            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                            3            sufficiently allege the terms of “Series 15-11-371” pursuant to which the second
                                                            4            assignment was purportedly “entered into.”
                                                            5                  x.    Assignor Health Alliance Medical Plans, Inc.
                                                            6                  Plaintiffs allege that on March 19, 2019, Health Alliance Medical Plans,
                                                            7            Inc. “entered into an agreement with MSP Recovery, LLC irrevocably
                                                            8            assigning its right to recover conditional payments under the MSP law” under
                                                            9            Illinois law; then on April 10, 2019, “MSP Recovery, LLC entered into an
                                                           10            agreement with MSP Recovery Claims, Series LLC, pursuant to Series 17-03-
                                                           11            583, irrevocably assigning its right to recover conditional payments . . . as
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                                                           12            assigned from Health Alliance Medical Plans, Inc.” Plaintiffs allege that the
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                                                           13            second assignment was “entered into under Delaware law.”
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                                                           14                  Plaintiffs lack standing because the assignments upon which they rely are
                                                           15            facially and materially flawed. These assignments fail to convey the rights as
                                                           16            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           17            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           18            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           19            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the
                                                           20            signatory of the assignee to the second agreement appears to be a person
                                                           21            signing on behalf of an entity other than this assignee, with no explanation
                                                           22            whatsoever (e.g., Series 17-03-583 has as its signatory “Series MRCS, a
                                                           23            designated series of MDA, Series LLC”); (4) Health Alliance Medical Plans,
                                                           24            Inc. has not been billed or charged for any conditional payments, nor has it
                                                           25            made any conditional payments or borne the cost of any conditional payments
                                                           26            supposedly at issue in this Action or otherwise; and (5) the March 19, 2019
                                                           27            agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                           28            standing under that agreement at the time the case was filed and standing must
                                                                57027219;1                              46                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 48 of 63 Page ID
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                                                            1            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                            2            sufficiently allege the terms of “Series 17-03-583” pursuant to which the second
                                                            3            assignment was purportedly “entered into.”
                                                            4                  y.    Assignor Medical IPA of the Palm Beaches, Inc.
                                                            5                  Plaintiffs allege that on February 18, 2016, Medical IPA of the Palm
                                                            6            Beaches, Inc. “entered into an agreement with MSP Recovery, LLC irrevocably
                                                            7            assigning its right to recover conditional payments under the MSP law” under
                                                            8            Florida law; then on June 12, 2017, “MSP Recovery, LLC entered into an
                                                            9            agreement with MSP Recovery Claims, Series LLC, pursuant to Series 16-02-
                                                           10            436, irrevocably assigning its right to recover conditional payments . . . as
                                                           11            assigned from Medical IPA of the Palm Beaches, Inc.” Plaintiffs allege that the
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                                                           12            second assignment was “entered into under Delaware law.”
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                                                           13                  Plaintiffs lack standing because the assignments upon which they rely are
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                                                           14            facially and materially flawed. These assignments fail to convey the rights as
                                                           15            alleged, for reasons including, but not limited to: (1) neither of the named
                                                           16            Plaintiffs are the ultimate “assignees” of anything and they are not even a party
                                                           17            to any of the alleged transactions notwithstanding Plaintiffs’ allegation to the
                                                           18            contrary; (2) Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) The
                                                           19            signatories of both parties to the June 12, 2017 agreement appear to be persons
                                                           20            signing on behalf of entities other than the parties to the agreement, with no
                                                           21            explanation whatsoever (e.g., Series 16-02-436 LLC has as its signatory “Series
                                                           22            MRCS, LLC., its Manager John H. Ruiz”); (4) Medical IPA of the Palm
                                                           23            Beaches, Inc. has not been billed or charged for any conditional payments, nor
                                                           24            has it made any conditional payments or borne the cost of any conditional
                                                           25            payments supposedly at issue in this Action or otherwise; and (5) the June 12,
                                                           26            2017 agreement post-dates the filing of this case and therefore Plaintiffs lacked
                                                           27            standing under that agreement at the time the case was filed and standing must
                                                           28            exist at the inception of the case. In addition, Plaintiffs have failed to
                                                                57027219;1                              47                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 49 of 63 Page ID
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                                                            1            sufficiently allege the terms of “Series 16-02-436” pursuant to which the second
                                                            2            assignment was purportedly “entered into.”
                                                            3                  z.     Assignor Blue Cross Blue Shield of Massachusetts HMO Blue,
                                                            4                         Inc.
                                                            5                  Plaintiffs allege that on December 18, 2018, Blue Cross Blue Shield of
                                                            6            Massachusetts HMO Blue, Inc. “entered into an agreement with MSP
                                                            7            Recovery, LLC, irrevocably assigning its right to recover conditional payments
                                                            8            under the MSP law” under Massachusetts law; then on October 18, 2019, “MSP
                                                            9            Recovery, LLC entered into an agreement with MSP Recovery Claims, Series
                                                           10            LLC, pursuant to Series 15-11-388, irrevocably assigning its right to recover
                                                           11            conditional payments . . . as assigned from Blue Cross Blue Shield of
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                                                           12            Massachusetts HMO Blue, Inc.” Plaintiffs allege that the second assignment
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                                                           13            was “entered into under Florida law.”
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                                                           14                  Plaintiffs lack standing because these assignments upon which they rely
                                                           15            (as set forth in Exhibit A to the Fourth Amended Complaint), are facially and
                                                           16            materially flawed. These assignments fail to convey the rights as alleged, for
                                                           17            reasons including, but not limited to: (1) neither of the named Plaintiffs are the
                                                           18            ultimate “assignees” of anything and they are not even a party to any of the
                                                           19            alleged transactions notwithstanding Plaintiffs’ allegation to the contrary; (2)
                                                           20            Plaintiff MSPA Claims 1, LLC is not even mentioned; (3) the signatory of the
                                                           21            assignee to the second agreement appears to be a person signing on behalf of an
                                                           22            entity other than this assignee, with no explanation whatsoever (e.g., Series 15-
                                                           23            11-388 has as its signatory “Series MRCS, a designated series of MDA, Series
                                                           24            LLC”); and (4) the December 18, 2018 agreement post-dates the filing of this
                                                           25            case and therefore Plaintiffs lacked standing under that agreement at the time
                                                           26            the case was filed and standing must exist at the inception of the case. In
                                                           27            addition, Plaintiffs have failed to sufficiently allege the terms of “Series 15-11-
                                                           28            388” pursuant to which the second assignment was purportedly “entered into.”
                                                                57027219;1                              48                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1            4.   Some or all of Plaintiffs’ and/or the putative class members' claims and
                                                            2   requests for relief are barred in whole or in part because Plaintiffs lacked and/or have
                                                            3   not maintained standing throughout the entire duration of this lawsuit, in that some or
                                                            4   all of Plaintiffs' assignment agreements upon which Plaintiffs rely have been
                                                            5   terminated prior to Plaintiffs' filing of the operative Fourth Amended Class Action
                                                            6   Complaint in this action.
                                                            7            5.   Some or all of Plaintiffs’ and/or the putative class members' claims and
                                                            8   requests for relief are barred in whole or in part because some or all of Plaintiffs'
                                                            9   assignment agreements upon which Plaintiffs rely do not contain and/or identify the
                                                           10   specific claims that are purportedly assigned and/or conveyed to Plaintiffs. None of
                                                           11   the agreements specifically state what is being “assigned."             Without explicit
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                                                           12   allegations and proof of such, Plaintiffs fail to establish that the claims sued upon have
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                                                           13   been conveyed.
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                                                           14            6.   Some or all of Plaintiffs’ and/or the putative class members' claims and
                                                           15   requests for relief are barred in whole or in part because Plaintiffs lacked and/or have
                                                           16   not maintained standing throughout the entire duration of this lawsuit. In support of
                                                           17   this affirmative defense, Defendants allege the following:         The limited liability
                                                           18   company operating agreements and/or amendments thereto concerning Plaintiffs on
                                                           19   which Plaintiffs assert standing to pursue the purported causes of action and requests
                                                           20   for relief asserted in the Complaint were executed and made after this lawsuit was
                                                           21   filed.
                                                           22            7.   To the extent Plaintiffs seek to include entities other than Medical
                                                           23   Advantage Organizations in the lawsuit and/or in the putative class, such as medical
                                                           24   service organizations, providers, or managers (“Non-MAO Assignors”), such Non-
                                                           25   MAO Assignors cannot properly bring a claim pursuant to the Medicare Secondary
                                                           26   Payer Act. At least the following purported Assignors are not Medicare Advantage
                                                           27   Organizations: (1) EmblemHealth Services Company, LLC, (2) Verimed IPA, LLC,
                                                           28   (3) Plum Healthcare, LLC, (4) Health Care Advisors Services, Inc., and (5) MCCI
                                                                57027219;1                              49                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   Group Holdings, LLC. None of these purported Assignors are identified on the
                                                            2   official government CMS website of approved Medicare Advantage Organizations.
                                                            3   The Non-MAO Assignors appear to be private entities that have private, non-
                                                            4   governmental contracts with Medicare Advantage Organizations to do some
                                                            5   unspecified part of the management of enrollees’ care. Claims by these types of
                                                            6   entities are not actionable under the Medicare Secondary Payer Act because the types
                                                            7   of entities referred to by Plaintiffs (e.g., MSO, IPAs, etc.) are not interchangeable with
                                                            8   Medicare Advantage Organizations for purposes of suing under 42 U.S.C. §
                                                            9   1395y(b)(3)(A). Non-MAO Assignor middlemen cannot – and do not – have the
                                                           10   ability to invoke 42 U.S.C. § 1395y(b)(3)(A) and sue for reimbursement because they
                                                           11   do not provide the same functions as Medicare Advantage Organizations; they are not
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                                                           12   paid with Medicare Trust Funds (they are paid privately); they do not make
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                                                           13   conditional primary payments to the providers for medical services for Medicare
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                                                           14   beneficiaries (Medicare Advantage Organizations make these payments); they do not
                                                           15   pay providers and cannot sue for “reimbursement” of anything; they do not use and
                                                           16   are not seeking reimbursement of Medicare Trust Funds (they are seeking payment for
                                                           17   their own coffers and, here, Plaintiffs’ coffers); there is no precedent for allowing
                                                           18   entities that are not Medicare Advantage Organizations to bring these reimbursement
                                                           19   claims; and, allowing them to do so will create conflict where Medicare Advantage
                                                           20   Organizations may have real standing to sue for the same set of bills.
                                                           21            8.   Plaintiffs have not sufficiently plead or established facts to state a viable
                                                           22   claim against Defendants, such that the allegations and causes of action asserted in the
                                                           23   Complaint are uncertain, vague and ambiguous, and fail to meet the applicable
                                                           24   pleading requirements or to put Defendants on sufficient notice of the claims raised
                                                           25   against them. In support of this affirmative defense, Defendants allege the following:
                                                           26   Plaintiffs have failed to allege and/or establish, among other things: the date of the
                                                           27   accident or occurrence involving the Medicare enrollee; the specific amount Plaintiffs
                                                           28   or Assignors paid on any bill for medical services related to that accident or
                                                                57027219;1                              50                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
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                                                            1   occurrence, the injuries sustained or treated and type of medical service that was the
                                                            2   subject of the bill paid, or any other facts establishing that billed medical services
                                                            3   were reasonable, necessary or related to the accident; to whom Plaintiffs or Assignors
                                                            4   allegedly paid such a bill and when; whether a proper recovery demand letter was
                                                            5   provided to each Defendant; or that each Defendant was on notice of its alleged
                                                            6   primary payment responsibility, or on notice of the payment and still refused to
                                                            7   reimburse Assignors or Plaintiff. Plaintiffs also fail to plead or establish any facts
                                                            8   demonstrating that any Defendant was served with a proper recovery demand letter,
                                                            9   which is required before a primary plan is obligated to make any payment. 42 C.F.R. §
                                                           10   411.22(c).
                                                           11            9.    Plaintiffs lack standing to sue, and there is no subject matter jurisdiction
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                                                           12   over this action because Plaintiffs must have a valid assignment from each purported
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                                                           13   assignor identified with each exemplar claim in the Complaint in order to recover
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                                                           14   funds arguably due to that alleged assignor. Absent such valid assignments, which
                                                           15   Plaintiffs have failed to establish they have (for example, the named Plaintiffs are not
                                                           16   the ultimate “assignee” and are not a party to the alleged transaction; and the
                                                           17   purported agreements are incomplete and contain no signature or acknowledgment on
                                                           18   behalf of the purported assignee), Plaintiffs lack standing to sue, and there is no
                                                           19   subject matter jurisdiction over this action. Defendants are also entitled to challenge
                                                           20   the standing of Plaintiffs in connection with each purported assignor and also for each
                                                           21   putative class member for each and every disputed medical transaction on this issue.
                                                           22            10.   Plaintiffs lack standing to sue, and there is no subject matter jurisdiction
                                                           23   over this action because not all Enrollees identified with the exemplar claims are
                                                           24   named insureds on policies issued by one of the Defendants and, even if they were,
                                                           25   Plaintiffs must have a valid assignment from each such Enrollees in order to recover
                                                           26   funds arguably due under their respective insurance policies with Defendants. Absent
                                                           27   such a valid assignment, which Plaintiffs have failed to establish they have, Plaintiffs
                                                           28   lack standing to sue, and there is no subject matter jurisdiction over the action.
                                                                57027219;1                              51                    2:17-cv-02559-CAS-PLA
                                                                    DEFENDANTS’ CONSOLIDATED ANSWER TO FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case 2:17-cv-02559-CAS-PLA Document 249 Filed 03/08/21 Page 53 of 63 Page ID
                                                                                             #:9363



                                                            1   Defendants are also entitled to challenge the standing of Plaintiffs in connection with
                                                            2   each purported assignor and also for each putative class member for each and every
                                                            3   disputed medical transaction on this issue.
                                                            4            11.   Plaintiffs lack standing to sue, and there is no subject matter jurisdiction
                                                            5   over this action because Plaintiffs fail to allege or establish they are a third-party
                                                            6   beneficiary of the insurance policy issued by Defendants to the extent that any of the
                                                            7   Enrollees identified with the exemplar claims are named insureds on such policies.
                                                            8   Absent such a showing, Plaintiffs lack standing to sue and there is no subject matter
                                                            9   jurisdiction over this action. Defendants are also entitled to challenge the standing of
                                                           10   Plaintiffs in connection with each purported assignor and also for each putative class
                                                           11   member for each and every disputed medical transaction on this issue.
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                                                           12            12.   Plaintiffs lack standing to sue, and there is no subject matter jurisdiction
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                                                           13   over this action because Plaintiffs have failed to plead any facts showing that their
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                                                           14   purported assignments cover the specific claims upon which they sue. Absent
                                                           15   sufficient factual allegations and evidence, Plaintiffs lack standing to sue, and there is
                                                           16   no subject matter jurisdiction over the claims in the action. Defendants are also
                                                           17   entitled to challenge the standing of Plaintiffs in connection with each purported
                                                           18   assignor and also for each putative class member for each and every disputed medical
                                                           19   transaction on this issue.
                                                           20            13.   Plaintiffs' requests for relief are barred because the Enrollees / insurance
                                                           21   policy claimants failed to notify Defendants that they were enrolled in an MAO and/or
                                                           22   failed to notify Defendants that some and/or all of their medical expenses had been
                                                           23   paid by MAOs.
                                                           24            14.   Plaintiffs' requests for relief are barred because the Enrollees are
                                                           25   necessary and/or indispensable parties to the action to the extent that the Enrollees
                                                           26   accepted Med-Pay and/or PIP benefits, knew about the MAOs' payments to their
                                                           27   medical providers, and failed to reimburse the MAOs from the Enrollees' / claimants'
                                                           28   policy proceeds.
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                                                            1            15.   Plaintiffs' and the putative class members' claims are barred to the extent
                                                            2   they cannot establish that the Enrollees' treatment was for injuries related to the
                                                            3   accidents covered by the insurance policies in question, or that all of the bills at issue
                                                            4   were reasonable or for medically necessary services, which Plaintiffs have failed to do
                                                            5   with respect to the Enrollees identified in the exemplar claims or any other claims.
                                                            6            16.   Some or all of Plaintiffs’ and/or the putative class members’ claims and
                                                            7   requests for relief are time-barred in whole or in part to the extent those claims arose
                                                            8   outside the applicable 3-year statute of limitations and/or are limited by and subject to
                                                            9   the applicable 3-year statute of limitations.
                                                           10            17.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                           11   requests for relief based on breach of contract are barred in whole or in part because
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                                                           12   Defendants fully performed under the alleged contracts.
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                                                           13            18.   Some or all of Plaintiffs’ and the putative class members' claims and
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                                                           14   requests for relief based on breach of contract are barred in whole or in part because
                                                           15   Plaintiffs, Plaintiffs’ alleged assignors or the putative class members did not comply
                                                           16   with the terms and conditions in the contract including without limitation those terms
                                                           17   and conditions which require lawsuits related to the policy to be brought in the state or
                                                           18   federal court located in the state in which the insured's premises are located, which
                                                           19   require notice of the accident to be provided to a Defendant within 30 days, which
                                                           20   require proof of a claim for health services expenses within 45 days after services are
                                                           21   rendered (except when there is written proof providing clear and reasonable
                                                           22   justification for failure to comply with such time limitation), which require execution
                                                           23   of written proof of claims under oath, which require submission to medical exams,
                                                           24   and/or which require execution of authorizations to obtain medical records.
                                                           25            19.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                           26   requests for relief are barred in whole or in part because the alleged injuries, if any,
                                                           27   were not proximately caused by any acts or omissions of Defendants.
                                                           28            20.   Some or all of Plaintiffs’ and the putative class members' claims and
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                                                            1   requests for relief are barred in whole or in part to the extent that the alleged medical
                                                            2   bills at issue already were paid by a Defendant or some other person or entity.
                                                            3            21.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                            4   requests for relief are barred in whole or in part to the extent that Defendants were not
                                                            5   timely provided, or were never provided, with notice of the alleged medical bills or
                                                            6   payments at issue, and/or notice of primary payment responsibility under 42 C.F.R.
                                                            7   § 411.25 and/or other statutes, regulations and/or portions of the Medicare Secondary
                                                            8   Payer Act.
                                                            9            22.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                           10   requests for relief are barred in whole or in part to the extent that Plaintiffs, their
                                                           11   assignors and/or class members and their assignors are either: not “entities designated
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                                                           12   to receive payment” under 42 C.F.R. § 411.22 of the Medicare Secondary Payer Act;
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                                                           13   or Plaintiffs failed to serve proper “recovery demand letters” under 42 C.F.R. § 411.22
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                                                           14   of the Medicare Secondary Payer Act.
                                                           15            23.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                           16   requests for relief are barred in whole or in part by Plaintiffs’ failures to comply with
                                                           17   (or show compliance with) conditions precedent to suit, including without limitation
                                                           18   compliance with the pre-suit demand letter requirements set forth in applicable state
                                                           19   statutes (see e.g., Section 627.736(10), Florida Statutes).
                                                           20            24.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                           21   requests for relief are barred in whole or in part by Plaintiffs’ failures to comply with
                                                           22   (or show compliance with) conditions precedent to suit, including meeting the
                                                           23   federally-set threshold claim amount requirement.
                                                           24            25.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                           25   requests for relief are barred in whole or in part by Plaintiffs’ failure to comply with
                                                           26   (or show compliance with) conditions precedent to making a “conditional” payment,
                                                           27   including without limitation that the primary payer was notified of the expenses and
                                                           28   bills allegedly at issue, that an MAO or other payer made efforts to attempt to identify
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                                                            1   primary payers, and that a determination was made that payment had not been made
                                                            2   or could not reasonably be expected to be made promptly by a primary payer.
                                                            3            26.   Some or all of Plaintiffs’ and the putative class members' claims and
                                                            4   requests for relief are barred in whole or in part because the alleged medical bills and
                                                            5   or services for which payments or reimbursements are sought were not timely,
                                                            6   reasonable, medically necessary, do not arise out of the ownership, maintenance, or
                                                            7   use of a motor vehicle, or otherwise do not qualify for coverage or payment pursuant
                                                            8   to applicable state statutes and/or the applicable policies of insurance issued by
                                                            9   Defendants.
                                                           10            27.   Some or all of Plaintiffs' and the putative class members' claims are or
                                                           11   may be barred based on their failure to mitigate damages. This is so to the extent
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                                                           12   Plaintiffs or their alleged assignors or the putative class members automatically paid
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                                                           13   bills regardless whether a primary payer existed or otherwise failed to coordinate
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                                                           14   benefits with primary payers such as Defendants.         For example, the allegations
                                                           15   regarding the exemplar claims indicate that Plaintiffs' purported assignors paid bills
                                                           16   automatically regardless of whether there was any inquiry into whether a primary
                                                           17   payer existed, and did not seek to first coordinate benefits with primary payers, which
                                                           18   may have resulted in, among other things, exhaustion of policy benefits.
                                                           19            28.   Some or all of Plaintiffs' and the putative class members' claims are or
                                                           20   may be barred based on their failure to fulfill their obligations to coordinate benefits.
                                                           21   For example, the allegations regarding the exemplar claims indicate that Plaintiffs'
                                                           22   purported assignors paid bills automatically regardless of whether there was any
                                                           23   inquiry into whether a primary payer existed, and did not seek to first coordinate
                                                           24   benefits with primary payers.
                                                           25            29.   Some or all of Plaintiffs' and the putative class members' claims are or
                                                           26   may be barred by the doctrine of estoppel. For example, the allegations regarding the
                                                           27   exemplar claims indicate that Plaintiffs' purported assignors paid bills automatically
                                                           28   regardless of whether there was any inquiry into whether a primary payer existed, and
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                                                            1   did not seek to first coordinate benefits with primary payers. To the extent Plaintiffs or
                                                            2   their assignors created the situation about which Plaintiffs now complains, Plaintiffs
                                                            3   are estopped from pursuing the claims.
                                                            4            30.   Some or all of Plaintiffs' and the putative class members' claims are or
                                                            5   may be barred by the doctrine of waiver. For example, the allegations regarding the
                                                            6   exemplar claims indicate that Plaintiffs' purported assignors paid bills automatically
                                                            7   regardless of whether there was any inquiry into whether a primary payer existed, and
                                                            8   did not seek to first coordinate benefits with primary payers. To the extent Plaintiffs or
                                                            9   their assignors created the situation about which Plaintiffs now complains, they
                                                           10   waived the right to pursue the claims.
                                                           11            31.   Some or all of Plaintiffs' and the putative class members' claims are or
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                                                           12   may be barred by the application of the voluntary payment doctrine. For example, the
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                                                           13   allegations regarding the exemplar claims indicate that Plaintiffs' purported assignors
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                                                           14   paid bills automatically regardless of whether there was any inquiry into whether a
                                                           15   primary payer existed, and did not seek to first coordinate benefits with primary
                                                           16   payers.
                                                           17            32.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           18   be barred by the doctrine of res judicata and/or claim preclusion to the extent there
                                                           19   was any previous suit against a Defendant or against a Defendant’s insured for the
                                                           20   claims at issue in this lawsuit and/or those claims were resolved in prior litigation.
                                                           21            33.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           22   be barred by the doctrine of laches.
                                                           23            34.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           24   be subject to setoff to the extent a Defendant has paid all or some of the medical bills
                                                           25   which are the subject of this lawsuit.
                                                           26            35.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           27   be barred by release to the extent a settlement was reached regarding the medical bills
                                                           28   which are the subject of this lawsuit.
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                                                            1            36.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                            2   be barred by accord and satisfaction to the extent a Defendant or an entity or
                                                            3   individual other than Plaintiffs’ assignors or the putative class members has paid or
                                                            4   reimbursed all or some of the medical bills which are the subject of this lawsuit and
                                                            5   those payments have been accepted by Plaintiffs, Plaintiffs’ assignors, the medical
                                                            6   providers who issued the medical bills, or any of the putative class members.
                                                            7            37.   Some or all of Plaintiffs' and the putative class members' claims are or
                                                            8   may be barred based on lack of causation between any alleged conduct by a Defendant
                                                            9   and the alleged injuries. For example, the allegations regarding the exemplar claims
                                                           10   indicate that Plaintiffs' purported assignor paid bills automatically regardless of
                                                           11   whether there was any inquiry into whether a primary payer existed, and did not seek
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                                                           12   to first coordinate benefits with primary payers. Thus, it was Plaintiffs' (or its
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                                                           13   assignors') conduct which resulted in the alleged harm -- i.e., a Defendant's alleged
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                                                           14   failure to pay the disputed bills on a primary basis -- not any conduct by a Defendant.
                                                           15            38.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           16   be barred to the extent the applicable insurance policy benefits have been exhausted,
                                                           17   denied or not paid because of the terms of the specific applicable coverage.
                                                           18            39.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           19   be barred or not recoverable because the charges sought may be excessive and/or may
                                                           20   not accurately reflect actual amounts billed, paid and/or incurred.
                                                           21            40.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           22   be barred by failure to comply with necessary conditions precedent to bring a cause of
                                                           23   action under the applicable Medicare laws.
                                                           24            41.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           25   be barred in whole or in part because they fail to meet the federally-set threshold
                                                           26   claim amount requirement under the applicable Medicare laws.
                                                           27            42.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           28   be barred by failure to comply with necessary conditions precedent to bring a cause of
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                                                            1   action under the applicable states' laws for seeking payments under insurance policies,
                                                            2   including without limitation compliance with the pre-suit demand letter requirements
                                                            3   set forth in Section 627.736(10), Florida Statutes.
                                                            4            43.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                            5   be barred because the assignors and/or putative class members and or putative class
                                                            6   members' assignors are entities other than Medicare Advantage Organizations which
                                                            7   do not have the right pursuant to their contracts with the Medicare Advantage
                                                            8   Organizations that enroll the Enrollees to seek payment, reimbursement and/or
                                                            9   damages related to the medical treatment and/or services for Enrollees.
                                                           10            44.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           11   be barred because the assignors and/or putative class members and or putative class
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                                                           12   members' assignors are entities other than Medicare Advantage Organizations which
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                                                           13   did not directly pay the actual medical provider that treated the Enrollee and/or did not
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                                                           14   reimburse the Enrollee's Medicare Advantage Organization that paid the medical
                                                           15   provider the amount sought in this action.
                                                           16            45.   Some or all of Plaintiffs' or the putative class members' claims are or may
                                                           17   be barred in whole or in part to the extent that Defendants were never or not timely
                                                           18   provided with the alleged medical bills or payments at issue, and/or notice thereof,
                                                           19   and/or of any demands for payment prior to this Action, as required under the
                                                           20   Medicare Secondary Payer Act, the insurance policies, and applicable state laws.
                                                           21            46.   Plaintiffs' exemplar claims are improperly joined because they arise from
                                                           22   separate transactions and occurrences; and, each claim by each Plaintiff on behalf of
                                                           23   each of its alleged assignors (including the exemplar claims and any others) must be
                                                           24   brought in separate actions because they each arise from separate transactions and
                                                           25   occurrences.
                                                           26            47.   This action is not maintainable as a class action because Plaintiffs
                                                           27   proposed an improper fail-safe class.
                                                           28            48.   This action is not maintainable as a class action because Plaintiffs fail to
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                                                            1   and cannot satisfy the applicable requirements for certifying a class, including
                                                            2   numerosity, commonality, typicality, adequacy, and predominance.
                                                            3            49.   This action is not maintainable as a class action because assignors and
                                                            4   members of the putative class have adverse and antagonistic interests, such that the
                                                            5   class cannot be certified and fails as a matter of law.
                                                            6            50.   This action is not maintainable as a class action because Plaintiffs have
                                                            7   interests adverse to certain members of the class and thus are not adequate
                                                            8   representatives.
                                                            9            51.   This action is not maintainable as a class action because class counsel
                                                           10   and Plaintiffs are too closely related for either to be adequate.
                                                           11            52.   This action is not maintainable as a class action because membership in
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                                                           12   the putative class, as defined in the Complaint, cannot be ascertained including
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                                                           13   without limitation from records maintained by Defendants.
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                                                           14            53.   Some or all of Plaintiffs' assignors cannot be included in a class because
                                                           15   the assignors do not fall within the class definition set forth in the Complaint.
                                                           16            54.   This action is not maintainable as a class action because Plaintiffs fail to
                                                           17   and cannot satisfy the applicable requirements for certifying a class considering that
                                                           18   the claims implicate a host of complex and individualized factual inquiries and
                                                           19   varying legal defenses that will require a series of mini-trials.
                                                           20            55.   This action is not maintainable as a class action because questions of fact
                                                           21   pertaining to each of Plaintiffs' assignors' individual claims and each of the putative
                                                           22   class members' individual claims, as well as different defenses pertaining to each, will
                                                           23   predominate over common legal questions.
                                                           24            56.   This action is not maintainable as a class action because for each of the
                                                           25   putative class member's individual claims, each putative class member will be
                                                           26   required to demonstrate compliance with conditions precedent to suit, including
                                                           27   without limitation meeting the federally-set threshold claim amount requirement and
                                                           28   relevant state law requirements such as the pre-suit demand letter requirement set
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                                                            1   forth in Section 627.736(10), Florida Statutes.
                                                            2            57.   This action is not maintainable as a class action because the charges
                                                            3   billed by some of Plaintiffs' alleged assignors or by some putative class members may
                                                            4   be excessive, billed more than once for the same alleged medical treatment, and/or
                                                            5   billed for services not actually rendered.
                                                            6            58.   The Complaint and its associated requests for relief are barred in whole
                                                            7   or in part because Plaintiffs and/or Plaintiffs’ alleged assignors are not parties to the
                                                            8   automobile or other insurance policies issued by Defendants, and therefore cannot sue
                                                            9   for breach of those policies without at minimum proof of subrogation contracts with
                                                           10   each and every enrollee whose medical bills are at issue and without proof that each
                                                           11   and every enrollee was a named insured on an insurance policy issued by Defendants.
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                                                           12            59.   Some or all of Plaintiffs' requests for relief under a breach of contract
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                                                           13   claim are barred because there is no contract between a Defendant and a third party
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                                                           14   Enrollee such that the third party Enrollee has no contract rights that can be
                                                           15   subrogated to a MAO and then assigned to Plaintiffs.
                                                           16            60.   Some or all of Plaintiffs' requests for relief are barred because the third
                                                           17   party Enrollee and/or his or her attorney is a necessary but missing party to this action
                                                           18   in that the third party Enrollee and/or his or her attorney who received the settlement
                                                           19   funds were obligated to pay and/or reimburse medical liens including without
                                                           20   limitation any MAO liens and purportedly failed to do so.
                                                           21            61.   Any claims purportedly assigned to Plaintiffs other than the claims
                                                           22   alleged in Exhibit "A" to the Complaint are barred and cannot be included in the
                                                           23   purported class.
                                                           24            62.   Any claims purportedly assigned to Plaintiffs than the claims alleged in
                                                           25   Exhibit "A" to the Complaint are barred due to the deadlines including without
                                                           26   limitation amendment deadlines set forth in the Court's Orders and/or the Special
                                                           27   Master's Orders and/or due to Plaintiffs' failures to identify and/or allege such claims
                                                           28   with specificity.
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                                                            1            63.   Defendants reserve the right to add and assert any further additional
                                                            2   defenses that are discovered during the course of this matter.
                                                            3                                   PRAYER FOR RELIEF
                                                            4            WHEREFORE, having fully answered Plaintiffs’ Complaint, Defendants jointly
                                                            5   and severally pray for judgment as follows:
                                                            6            1.    That judgment be rendered in favor of Defendants, and each of them, and
                                                            7   against Plaintiffs, and each of them;
                                                            8            2.    That Plaintiffs take nothing and be afforded no relief by reason of their
                                                            9   Complaint and that the Complaint be dismissed with prejudice;
                                                           10            3.    That Defendants be awarded their costs and expenses according to proof;
                                                           11   and
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                                                           12            4.    That Defendants be granted such other and further relief as is just and
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                                                           13   proper.
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                                                           14
                                                           15   Dated: March 8, 2021                    AKERMAN LLP
                                                           16                                           By: /s/ Valerie Greenberg
                                                                                                            Valerie Greenberg
                                                           17                                               Michael R. Weiss
                                                           18                                               Attorneys for Defendants
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                                                            1                                DEMAND FOR JURY TRIAL
                                                            2            Defendants hereby demand a jury trial for all claims submitted to the jury.
                                                            3
                                                            4   Dated: March 8, 2021                     AKERMAN LLP
                                                            5                                            By: /s/ Valerie Greenberg
                                                                                                             Valerie Greenberg
                                                            6                                                Michael R. Weiss
                                                            7                                                Attorneys for Defendants
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